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                    EXHIBIT D
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ District of
                                                                           of Florida
                                                                              __________

                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:19-md-02885
 IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS                                       )
             LIABILITY LITIGATION                                             )
                              Defendant                                       )
                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                      Department of Defense c/o Paul C. Ney,
 To:                                               1400 Defense Pentagon Washington, DC 20301

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
       See the documents requested in the attached Touhy requests (Exhibits 1-6).

 Place: Ashley Neglia                                                                   Date and Time:
           Kirkand & Ellis LLP
           1301 Pennsylvania Ave., N.W.                                                                      09/23/2020 5:00 pm
           Washington, D.C. 20004

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        09/04/2020

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ Ashley Neglia
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)                                    Defendants
                                                                                                        , who issues or requests this subpoena, are:
Ashley Neglia, Kirkland & Ellis LLP, 555 S. Flower St., Los Angeles, CA 90071; Ashley.Neglia@kirkland.com; (213) 680-8114

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:19-md-02885

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                     EXHIBIT 1
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                                                                     June 21, 2019

              Via Email

              Major Collin Evans
              Collin.p.evans2.mil@mail.mil
              703-693-0352


                                 Re:        Touhy Request Relating to In re: 3M Combat Arms Earplug Products
                                            Liability Litigation, 3:19-md-02885-MCR-GRJ (N.D. Fla.).

          Dear Major Evans:

                  In connection with In re: 3M Combat Arms Earplug Products Liability Litigation—a
          multidistrict litigation pending before Judge Rodgers in the Northern District of Florida—this
          letter constitutes Defendants 3M Company (“3M”) and Aearo Technologies LLC’s (“Aearo”)
          Touhy1 request to the United States Department of Defense (“DoD”), Defense Logistics Agency
          (“DLA”), Army, Navy, Marine Corps, Air Force, and Coast Guard for certain contracts and other
          documents related to, among other things: (i) the design, sale and use of Combat Arms Earplugs
          Version 2 (“CAEv2”); and (ii) noise exposure data and hearing conservation efforts in the various
          military branches. Pursuant to 32 C.F.R. § 516.40-57 and 32 C.F.R. § 97, 33 C.F.R. § 1.20-1 and
          6 C.F.R. § 5.45, DoD Directive 5405.2 § 6.2, Navy Instruction 5820.8A, and Air Force Instruction
          51-301, Defendants set forth the basis for their Touhy request as follows:

          I.           Summary of the Litigation

                  3M was founded in 1902 as a small-scale mining venture in Northern Minnesota, and has
          grown into a global science company employing over 90,000 people. 3M produces more than
          60,000 products world-wide. Many of 3M’s brands have become universally known, including
          Scotch™ Brand adhesive tapes, Post-it® Brand sticky notes, and Thinsulate™ thermal insulation,
          to name just a few. In addition to its consumer-side business, 3M also has a long-standing
          relationship with the federal government and provides thousands of products designed to protect
          American troops and support their missions. In 2008, 3M purchased Aearo, who, at the time, was
          a global leader in personal protection equipment, headquartered in Indianapolis, Indiana. The

          1
                 United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951).



Beijing       Boston   Chicago   Dallas   Hong Kong   Houston   London    Munich   New York   Palo Alto   Paris   San Francisco    Shanghai   Washington, D.C.
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acquisition helped 3M expand its occupational health and environmental safety platform by adding
hearing protection, eyewear protection, and fall protection to its product lines, including Combat
Arms Earplugs - the subject of this litigation.

       Hearing loss is a common injury among military veterans. The U.S. military has provided
hearing protection and preservation services to soldiers for decades. In support of that mission,
the military employs audiologists to administer hearing conservation programs and work with
outside contractors, like 3M, to advance their hearing protection goals.

        The complaints in this MDL assert claims for alleged hearing loss or tinnitus allegedly
caused by noise exposure while wearing the Combat Arms Earplugs Version 2. CAEv2 was
developed and designed by Aearo at the request of and in close consultation with U.S. military
audiologists, including Dr. Doug Ohlin, former Program Manager, Hearing Conservation, U.S.
Army Center for Health Promotion and Preventative Medicine. Specifically, the U.S. military and
Aearo decided to modify and update Aearo’s Ultrafit® triple-flanged earplug by including a
specially patented filter created by the French-German Institute in Saint Louis, France (“ISL”).
Thereafter, Aearo worked with the U.S. military and ISL to develop an earplug embodying ISL’s
patented technology, which ultimately became CAEv2.

       CAEv2 is a “dual ended” earplug that consists of two Ultra-fit type tips, one green and one
yellow, attached to opposite sides of a plastic stem with a small opening at the center. The green
end works like a conventional passive earplug, providing steady attenuation of ambient noise. In
contrast, the yellow end is nonlinear and attenuates different sounds differently. In particular,
sound travels into the opening at the center of the earplug and through a sound channel and the
patented ISL filter before entering the ear. The filter allows lower-level sounds, such as speech,
to pass through with minimal attenuation, but provides increased attenuation for higher-level
impulse noises, like gun-fire. This enables the user to experience enhanced situation awareness
while receiving some protection from unexpected impulse noise.

        Throughout the design process, Aearo worked closely with the U.S. military to ensure that
CAEv2 would appropriately balance performance with military operational needs for soldiers and
military personnel. These specifications were memorialized in a Medical Procurement Item
Description (“MPID”) that was used by the Defense Logistics Agency to solicit bids from Aearo
for CAEv2. Design decisions regarding the CAEv2 may be contained in emails and other
communications with Dr. Doug Ohlin. And one or more branches of the military may have tested
the products’ performance.

       To date, over 900 cases have been filed on behalf of current or former military personnel.
These claims allege plaintiffs were provided CAEv2 by various branches of the military, and used
CAEv2 during training and/or deployment. Plaintiffs asserting these claims typically allege
hearing loss and/or tinnitus as a result of noise exposure in military and combat settings, and assert
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claims for design defect, negligence, failure to warn, breach of warranties, and/or fraud. On April
3, 2019, the Judicial Panel on Multidistrict Litigation entered an order consolidating the cases in
an MDL before Judge Rodgers in the Northern District of Florida.

II.      Summary and Relevance of the Documents Requested

         Government actions and knowledge are critical issues in this litigation. The DoD, DLA,
Army, Navy, Marine Corps, Air Force and Coast Guard exclusively possess necessary information
concerning the military’s decision to buy CAEv2 from Defendants, the precise specifications
Defendants were required to follow in designing, evaluating, and selling the earplugs, military
procurement and Indefinite-Quantity contracts, design features, operational considerations in the
design of the earplugs, product testing, audiology reports and studies, and training, safety, and
fitting information provided to service members. These materials speak to, among other things,
plaintiffs’ allegations that there was a product defect or failure to warn, Defendants’ affirmative
defenses, and various bases for the Court’s subject matter jurisdiction over certain claims.
Accordingly, DoD, DLA, Army, Navy, Marine Corps, Air Force and Coast Guard possess
information that is necessary for the Court to evaluate the parties’ claims and defenses.

        Defendants’ specific document requests are contained in Section III, below. In short,
Defendants request documents regarding: (a) design specifications and requests for proposals; (b)
the military’s purchase and distribution of CAEv2; (c) instructions for CAEv2 and other earplugs;
(d) complaints or recalls related to CAEv2; (e) communications with Dr. Doug Ohlin regarding
CAEv2; (f) communications with Moldex-Metric, Inc. regarding CAEv2; (g) CAEv2 testing; (h)
policies and procedures regarding earplug fit for service members; (i) noise and ototoxin exposure
in the military; and (j) hearing protection usage in the military. These documents are relevant to
the claims and defenses in the above-referenced litigation for numerous reasons, including the
following.

        Documents regarding design specifications and requests for proposals. First,
documents regarding design specifications and requests for proposals will rebut plaintiffs’ claims
that CAEv2 was defectively designed, including by showing that design decisions balanced
military performance requirements with operational needs for soldiers and military personnel.
Second, these documents are relevant to establish Defendants’ “government contractor” defense,
under which a defendant is not liable for alleged defects or negligence with respect to military
equipment or supplies “when (1) the United States approved reasonably precise specifications; (2)
the equipment conformed to those specifications; and (3) the supplier warned the United States
about the dangers in the use of the equipment that were known to the supplier but not to the United
States.” Boyle v. United Techs. Corp., 487 U.S. 500, 512 (1988). In particular, the requested
documents will show, among other things, that the military established reasonably precise
specifications governing CAEv2’s performance, testing, inspection, packaging, and labeling.
Third, these documents are relevant to the Court’s subject matter jurisdiction under the “federal
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officer removal statute,” 28 U.S.C. § 1442(a)(1), which provides for federal jurisdiction where, as
here, the complained of conduct was taken under the direction of a federal officer, and the
defendant has “colorable” federal defenses (such as the “government contractor” defense
referenced above). See e.g., Ruppel v. CBS Corp., 701 F.3d 1176, 1180 (7th Cir. 2012) (removal
under the federal officer removal statute “promotes litigating federal defenses … in a federal forum
so that ‘the operations of the general government [are not] arrested at the will of one of [the
states]’”).

         Documents regarding purchasing and distribution data. First, documents regarding
purchasing and distribution data will help identify which plaintiffs may have used CAEv2, which
is a threshold issue for any claim. Second, these documents will help determine when a particular
plaintiff used CAEv2 and are thus relevant to whether any claims are barred by the applicable
statute of limitations. Third, these documents may show whether and to what extent CAEv2 was
distributed in combat zones, which is relevant to Defendants’ “combatant activities” defense.
Although Congress waived sovereign immunity for tort claims against the United States and those
acting on its behalf in the Federal Tort Claims Act, it excluded “claims arising out of combatant
activities of the military or armed forces, or the Coast Guard, during time of war.” 28 U.S.C. §
2680(j). This “combatant activities” exception has been applied to contractors like Defendants to
create a federal defense shielding manufacturers from tort claims arising from war.2 Fourth, these
documents will show that CAEv2 was distributed at least in part at military bases, which is relevant
to the Court’s subject matter jurisdiction under the “federal enclave” doctrine. In particular,
“[f]ederal courts have federal question jurisdiction over tort claims that arise on ‘federal
enclaves,’” such as military bases, Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1250 (9th
Cir. 2006), and Defendants have removed certain cases from state court to federal court in part on
that basis.3

       Documents regarding instructions for CAEv2 and other earplugs. First, documents
regarding instructions for CAEv2 and other earplugs may rebut plaintiffs’ principal allegation that
Defendants failed to adequately instruct the military or individual service members on proper use,
including in particular plaintiffs’ allegation that Defendants did not instruct the military to “roll
back” the flanges on the opposite end prior to insertion. Second, a central issue in this litigation is
whether and to what extent the plaintiffs received and/or followed training on how to properly

2
    See, e.g., Saleh v. Titan Corp., 580 F.3d 1, 6 (D.C. Cir. 2009) (applying § 2680(j) exception to tort claims arising
    from treatment of inmates in military prison in Iraq brought against private contractor); Bentzlin v. Hughes
    Aircraft Co., 833 F. Supp. 1486, 1492 (C.D. Cal. 1993) (“The combatant activities exception generates a federal
    common law defense which immunizes manufacturers such as Hughes from state tort suits arising from war.”).

3
    See Jamil v. Workforce Resources, LLC, 2018 WL 2298119 (C.D. Cal. May 21, 2918) (“Camp Pendleton is a
    federal enclave”); see also Haining v. Boeing Co., 2013 WL 4874975, at *2 (C.D. Cal. Sept. 11, 2013) (concluding
    Vandenberg AFB is a federal enclave).
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insert earplugs, such as CAEv2, in their ears. Plaintiffs’ failure to properly insert an earplug in
their ears could decrease the attenuation provided by that earplug, and thus undermine any
argument that a product defect caused their alleged injuries. Third, for similar reasons, these
documents may support that particular plaintiffs misused CAEv2, which is a common law defense
to certain claims. Fourth, these documents may be relevant to Defendants’ “government
contractor” defense, which, as discussed above, requires a showing that the government was on
notice of alleged product dangers. For example, to the extent the military included in service
member instructions a reference to the product characteristics plaintiffs now challenge—such as
“rolling back” any flanges prior to insertion—then that would support that the government was on
notice of those issues.

        Documents regarding complaints or recalls related to CAEv2. First, to the extent there
are no or few complaints or recalls, then that may undermine any assertion that CAEv2 was
defective. Second, complaints by any particular plaintiff are relevant to showing the date on which
the plaintiff was on notice of the alleged defect, which is relevant to whether the statute of
limitations has run on his or her claims. Third, complaints by individual plaintiffs may show that
they continued to use CAEv2 after gaining knowledge of the alleged issue, which would support
various common law defenses to plaintiffs’ tort claims, such as “assumption of the risk” and
“failure to mitigate.” Fourth, to the extent the government continued to purchase and use CAEv2
after receiving complaints about its performance, then that would support Defendants’ government
contractor defense, which, as noted above, requires a showing that the government was on notice
of the alleged product dangers.

        Communications with Dr. Doug Ohlin regarding CAEv2. First, communications with
Dr. Ohlin regarding CAEv2 will rebut plaintiffs’ allegations that CAEv2 was defectively designed
by showing that the military participated in the design of CAEv2 and made decisions that balanced
performance requirements with operational needs for soldiers and military personnel. Second,
these documents will help to establish Defendants’ “government contractor” defense by showing
that the military approved reasonably precise specifications and was on notice of the alleged
product dangers. Third, like the design specifications and requests for proposals discussed above,
Ohlin’s communications regarding CAEv2 are relevant to the Court’s jurisdiction under the federal
officer removal statute, which provides for federal jurisdiction where, as here, the complained of
conduct was performed under the direction of a federal officer. 28 U.S.C. § 1442(a)(1).

       Communications with Moldex regarding CAEv2. At and around the time Defendants
were working with the military to develop CAEv2, Moldex was marketing a competing product to
the military known as the BattlePlug. To the extent that Moldex criticized the Combat Arms
Earplugs during its communications with the military, or compared and contrasted various features
of the BattlePlug with those of the Combat Arms Earplugs, then those communications may be
relevant to show, among other things, the military’s knowledge of any alleged product dangers,
which, as noted above, is relevant to Defendants’ “government contractor” defense.
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        Documents regarding CAEv2 testing. First, CAEv2 test results will undermine
plaintiffs’ allegation that the product was defective. Second, testing documents in the military’s
possession—whether or not the test was performed by the military—will show that the military
was on notice of CAEv2 performance capabilities, which is relevant to, among other things,
plaintiffs’ failure to warn claims, Defendants’ “government contractor” defense, and the Court’s
jurisdiction under the federal officer removal statute.

        Policies and procedures regarding earplug fit for service members. First, policies and
procedures regarding earplug fit for service members will show whether and how the military
determined that CAEv2 would fit in particular plaintiffs’ ear canals. To the extent such a
determination was made, then that would undermine any allegation that the earplug did not “fit” a
particular plaintiff. To the extent it was not, then that may show that plaintiffs were not using the
earplug appropriately. Second, policies showing that the military required trained medical staff to
make an individual determination of fit for each service member will undermine any allegation
that Defendants were responsible for fitting individual service members. Third, these documents
may show whether and how the military trained soldiers to insert earplugs like CAEv2 into their
ears. As discussed above, Plaintiffs’ failure to properly insert CAEv2 could significantly impact
attenuation, and thus undermine plaintiffs’ argument that a product defect caused their alleged
injuries. Fourth, these documents may provide the basis for a defense that plaintiffs’ misused
CAEv2 by failing to follow military policies.

        Documents regarding noise and ototoxin exposure in the military. First, documents
regarding noise exposure data—such as noise dosimetry and sound level data—will show that
plaintiffs were exposed to a wide variety of potentially dangerous noises or ototoxins unrelated to
their use of CAEv2, which will undermine plaintiffs’ allegation that CAEv2 caused their alleged
injuries. Second, these documents may show that individual plaintiffs violated military hearing
protection recommendations by performing dangerous activities with no or insufficient hearing
protection, which would also undermine any assertion that CAEv2 caused their alleged injuries.
Third, these documents may also support Defendants’ “combatant activities” defense by showing
that service members were required to wear CAEv2 in combat situations. Fourth, these documents
may also be relevant to whether plaintiffs’ claims present non-justiciable political questions,
insofar as plaintiffs are challenging the military’s strategic decisions regarding equipment to be
worn in combat settings. Fifth, for similar reasons, these documents are also relevant to the Court’s
subject matter jurisdiction under the federal officer removal statue, which requires a showing that
Defendants have “colorable” defenses under federal law.

        Documents regarding (actual) hearing protection usage in the military. These
documents are relevant to the issue of whether or not military service members typically use
recommended or required hearing protection—including both in training and in combat settings—
which is relevant to, among other things, plaintiffs’ assertions that CAEv2 caused their alleged
injuries.
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III.   Document Requests

       Pursuant to United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951), and the above-
referenced statutes, directives and instructions, Defendants request the following documents from
the DoD, DLA, Army, Navy, Marine Corps, Air Force, and Coast Guard. To the extent that these
documents relate to the procurement, design specifications, and audiology-related studies of
CAEv2, Defendants understand that the contracting officer, the contracting officer’s
representative, and the hearing conservation program manager may be likely sources of the
requested information.

       A.     Documents Regarding Design Specifications And Requests For Proposals.

       1.     Specifications and drawings for the CAEv2.

       2.     Specifications and drawings for the earplug carrying case (national stock number
              (NSN)) 6515-01-100-1674, olive drab color.

       3.     Specifications and drawings for the earplug carrying case (national stock number
              (NSN)) 6515-01-533-6168, navy blue color.

       4.     Request for Proposal known as Solicitation No. SP0200-07-D-4102.

       5.     Request for Proposal known as Solicitation No. SP0200-07-D-4103.

       6.     Responses to Solicitation No. SP0200-06-R-4202, including from 3M and Aearo.

       7.     Responses to Solicitation No. SP0200-07-D-4103, including from 3M and Aearo.

       8.     Requests for Proposals, Commerce Business Daily announcements, or
              solicitations including design and/or performance specifications, features or
              performance requirements for any “nonlinear,” “level-dependent,” “sound
              transmission,” “amplitude-sensitive,” “pass-through,” “gunshot-reactive,”
              “shooter’s earplug,” “dual state,” or “situation-awareness enhancing” hearing
              protection device or earplug or ear insert style, from January, 1998 to December,
              2015.

       9.     Request for Proposals, Commerce Business Daily announcements, or solicitations
              that include any design and/or performance specifications, features or other
              requirements related to the sizing of any hearing protective earplug, the
              distribution of military personnel to be accommodated by various sizes of
              earplugs, or the means of matching earplug sizes to individuals, from January,
              1998 to December, 2015.
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      10.    Request for Proposals, Commerce Business Daily announcements, or solicitations
             that include any design and/or performance specifications, features or other
             requirements related to the length and/or diameter of any hearing protective
             earplug, and/or the compatibility of any hearing protective earplug with other
             headgear such as helmets or earphones, from January, 1998 to December, 2015.

      B.     Documents Regarding Purchasing And Distribution Of CAEv2.

      1.     Purchase data for CAEv2 from January, 1998 to December, 2015.

      2.     Distribution data for CAEv2 from January, 1998 to December, 2018.

      C.     Documents Regarding Instructions For CAEv2 And Other Earplugs.

      1.     Wallet Card instructions, Blister Pack instructions, Retail Pack instructions,
             instructions on or with bulk earplug boxes, and other bulk packaging instructions
             for CAEv2 from January, 1998 to December, 2015.

      2.     Training materials regarding the proper use, fit, maintenance, and/or care of
             CAEv2 from January, 1998 to December, 2015, including but not limited to,
             presentations, slide decks, computerized tutorials, on-line instructions, printed
             instructions, pamphlets, or memoranda.

      3.     Specifications, instructions or training materials relating to folding back, flipping
             backward, rolling back, or reversal of the flanges of any flange-style hearing
             protective earplug from January, 1998 to December, 2015.

      D.     Documents Regarding Complaints Or Recalls Related To CAEv2.

      1.     Feedback, complaints, or other information relating to the CAEv2 provided by
             service member users.

      2.     Feedback, complaints, or other information relating to the CAEv2 provided by
             military audiologists and medically trained personnel.

      3.     Product recalls, accident or injury documentations, or other verifications of
             problems related to CAEv2 from January, 1998 to December, 2015.

      E.     Communications With Dr. Douglas Ohlin Regarding CAEv2.

      1.     Communications relating to the CAEv2 that are to, from, copying, or involving
             Dr. Douglas Ohlin from 1998 to 2012.
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      F.     Communications With Moldex-Metric, Inc. Regarding CAEv2.

      1.     Communications relating to the CAEv2 that are to, from, copying, or involving
             employees or other representatives of Moldex-Metric, Inc. from January 1998 to
             December 2015.

      G.     Documents Regarding CAEv2 Testing.

      1.     CAEv2 test results provided to the Army, Navy, Marine Corps, Coast Guard, Air
             Force, Defense Logistics Agency, and Department of Defense from testing
             laboratories internal to the DoD, including but not limited to:

             a. CAEv2 attenuation testing for continuous and impulsive noise (on either end
                of the earplug) performed according to any of the following standards:
                ANSI/ASA S3.19-1974, ANSI/ASA S12.6-1997, ANSI/ASA S12.6-2008,
                ANSI/ASA S12.6-2016, ANSI/ASA S12.42-1995, ANSI/ASA S12.42-2010,
                and MIL-STD-912;

             b. CAEv2 test results from Army Research Laboratory, Aberdeen Proving
                Ground, Maryland;

             c. CAEv2 test results from U.S. Army Aeromedical Research Laboratory, Ft.
                Rucker, Alabama;

             d. CAEv2 test results from Air Force Research Laboratory, Wright-Patterson Air
                Force Base, Ohio;

             e. CAEv2 test results from Naval Air Systems Command, Patuxent River,
                Maryland;

             f. CAEv2 test results from White Sands Missile Range, New Mexico;

             g. CAEv2 test results publications, or research authored or presented by any of
                the following individuals: Dr. Lorraine Babeu, Dr. Kathy Gates, Dr. Nancy
                Vause, Dr. Richard Price, Dr. Joel Kalb, Dr. P. Fedel, Dr. Georges Garinther,
                Dr. Tomas R. Letowski, Richard McKinley, Dr. Doug Ohlin (deceased), Dr.
                William Ahroon, Dr. Douglas Brungart, Dr. Eric Fallon, Douglas Moses,
                and/or Elliott Berger.

      2.     CAEv2 test results provided to the Army, Navy, Marine Corps, Coast Guard, Air
             Force, Defense Logistics Agency, and Department of Defense from testing
             laboratories external to the DoD, including but not limited to:
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             a. CAEv2 attenuation testing for continuous and/or impulsive noise (on either
                end of the earplug) performed according to any of the following standards:
                ANSI/ASA S3.19-1974, ANSI/ASA S12.6-1997,ANSI/ASA S12.6-2008,
                ANSI/ASA S12.6-2016, ANSI/ASA S12.42-1995, ANSI/ASA S12.42-2010,
                and MIL-STD-912;

             b. CAEv2 test results from Honeywell, Howard Leight;

             c. CAEv2 test results from Michael & Associates;

             d. CAEv2 test results from NIOSH; and

             e. CAEv2 test results from A.L. Dancer or P.J.F. Hamery of French-German
                Research Institut of Saint-Louis.

      H.     Policies And Procedures Regarding Earplug Fit For Service Members.

      1.     Policies and procedures relating to compliance with ST 4-02.501 (Feb. 1 2008),
             Army Hearing Program, § 4-54, that medically trained personnel must fit service
             members with triple-flanged earplugs to ensure a proper fit.

      2.     Policies and procedures relating to compliance with Department of the Army
             Pamphlet 40-501, Hearing Conservation, that medically trained personnel must fit
             service members with triple-flanged earplugs to ensure a proper fit.

      3.     Policies and procedures relating to compliance with DoD Instruction 6055.12
             (Dec. 3, 2010), DoD Hearing Conservation Program, Enclosure 3, § 7(i), that
             medically trained personnel must fit service members with preformed earplugs to
             ensure a proper fit.

      4.     Policies and procedures relating to compliance with TM6260.51.99-2 (Sept. 15,
             2008), Navy Hearing Conservation Program Procedures, § C1.4.1, that medically
             trained personnel must fit service members with preformed earplugs to ensure a
             proper fit.

      I.     Documents Regarding Noise And Ototoxin Exposure In The Military.

      1.     Noise dosimetry data or other documents regarding the amount of noise service
             members are exposed to in particular specialties, in particular situations, or when
             operating particular weapons.
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       2.     Sound level data and recommendations for hearing protection in particular
              situations or when operating particular weapons, such as those documented on
              DD Form 2214.

       3.     Documents that contain recommendations and/or guidelines for specific hearing
              protectors to be worn when using specific weapons or when encountering other
              noise exposures.

       4.     Documents regarding military noise exposures or hearing protection
              recommendations or guidelines authored by the following individuals: Dr.
              Richard Price, Dr. Joel Kalb, Dr. P. Fedele, Dr. Georges Garinther, Dr. Tomas R.
              Letowski, Richard McKinley, Dr. Lorraine Babeu, Dr. Doug Ohlin (deceased),
              Dr. William Ahroon, Dr. Douglas Brungart, and Dr. Eric Fallon.

       5.     Research by Dr. Richard Price and/or Dr. Joel Kalb of the Army Research
              Laboratory that has used the Auditory Hazard Assessment Algorithm for Humans
              (“AHAAH”) model in connection with nonlinear earplugs, including the CAEv2.

       6.     Studies or policies relating to the prevention of service member exposure to the
              following ototoxins: toluene, xylene, n-hexane, organic tin, carbon disulfide,
              mercury, organic lead, hydrogen cyanide, diesel fuel, kerosene fuel, jet fuel,
              organophosphate pesticides, and nerve agents.

       7.     Internal research and results relating to the Noise Outcomes in Service Member
              Epidemiology (“NOISE”) Study.

       8.     Policies and procedures regarding “quiet areas” designed to expose service
              members to lower levels of noises.

       J.     Documents Regarding Hearing Protection Usage In The Military.

       1.     Studies regarding the actual (as opposed to suggested or required) usage of
              hearing protection (including, but not limited to, CAEv2) by service members in
              training or combat from 2000 to the present.

IV.    Additional Considerations

        These requests comply with the policies of the DoD, DLA, Army, Navy, Marine Corps,
Air Force, and Coast Guard regarding the provision of information by its employees in connection
with litigation in federal court:
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       1.      Disclosure of the requested information is not unduly burdensome or otherwise
               inappropriate under the federal discovery rules.

       2.      Disclosure of the requested information would be appropriate under the Federal
               Rules of Evidence and appropriate under the rules of the Northern District of
               Florida.

       3.      Disclosure of the requested information would be appropriate under the Federal
               Rules of Civil Procedure and would not impact any concerns regarding privileged
               information pursuant to the rules of procedure governing this litigation.

       4.      Disclosure of the requested information would not violate any statute, executive
               order, regulation, or directive.

       5.      Disclosure of the requested information would not reveal any classified
               information, data restricted pursuant to AR 380-5, unclassified technical data
               withheld from public release pursuant to 32 C.F.R. § 250 or DoD Directive
               5230.25, privileged safety information restricted from public release by DoD
               Directive 6055.7, AFI 31-401, or other matters exempt from unrestricted
               disclosure.

       6.      Disclosure of the requested information would not interfere with ongoing
               enforcement proceedings, compromise any constitutional rights, reveal the
               identity of an intelligence source or confidential informant, disclose trade secrets
               or similarly confidential commercial or financial information, or otherwise be
               inappropriate under the circumstances.

       7.      Disclosure would not violate any person’s expectation of confidentiality or
               privacy.

       8.      The United States is not, and is not reasonably anticipated to be, a party in this
               litigation.

See 32 C.F.R. §§ 97.6(b)(1)-(6); 32 C.F.R. §§ 516.41(d), 516.44; Navy Instruction 5280.8A(1)-
(10); Department of Defense Directive 5405.2 § 6.2; 33 C.F.R. § 1.20-1; 6 C.F.R. § 5.45; Air Force
Instruction 51-301, 9.5.1-9.5.6.

V.     Administrative Matters

        Defendants will bear the costs of duplicating and producing the documents sought by this
Touhy request. Costs will be paid by check or money order payable to the Treasury of the United
States. For ease of production, all electronically stored information can be produced via a secure
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file transfer protocol site that will be provided free of charge or via electronic storage media that
will be provided to you at no charge and upon your request. Any requests for assistance with the
transmittal of electronically stored documents, or coordination of the inspection of documents
should be made to Michelle Six, counsel for Defendants, at (212) 446-4693 or
michelle.six@kirkland.com. Additionally, to the extent the DoD, DLA, Army, Navy, Marine
Corps, Air Force, or Coast Guard believe any of the requested information does not implicate the
statutory considerations set forth above, Defendants are willing to work with the DoD, DLA,
Army, Navy, Marine Corps, Air Force, or Coast Guard to narrow the scope of the request.

       If you anticipate that full production will require more than one hundred twenty (120) days
from the date of service, we request that you notify Defendants and/or the Court. Should you have
any questions or require additional information about this Touhy request, please do not hesitate to
contact me. Thank you for your assistance.

                                                      Sincerely,




                                                      Kimberly Olvey Branscome, P.C.


                                                      Attorney for Defendants
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cc:   Michael J. Fucci
      Associate General Counsel
      Department of Defense
      michael.j.fucci.civ@mail.mil
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                     EXHIBIT 2
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                                                                     July 26, 2019

              Via Email

              Major Collin Evans
              Collin.p.evans2.mil@mail.mil
              703-693-0352


                                 Re:        Touhy Request Relating to In re: 3M Combat Arms Earplug Products
                                            Liability Litigation, 3:19-md-02885-MCR-GRJ (N.D. Fla.).

          Dear Major Evans:

                  In connection with In re: 3M Combat Arms Earplug Products Liability Litigation—a
          multidistrict litigation pending before Judge Rodgers in the Northern District of Florida—this
          letter constitutes Defendants 3M Company (“3M”) and Aearo Technologies LLC’s (“Aearo”)
          supplemental Touhy 1 request to the United States Department of Defense (“DoD”), Defense
          Logistics Agency (“DLA”), Army, Navy, Marine Corps, Air Force, and Coast Guard for certain
          contracts and other documents related to, among other things: (i) the design, sale and use of
          Combat Arms Earplugs Version 2 (“CAEv2”); and (ii) noise exposure data and hearing
          conservation efforts in the various military branches. Pursuant to 32 C.F.R. § 516.40-57 and 32
          C.F.R. § 97, 33 C.F.R. § 1.20-1 and 6 C.F.R. § 5.45, DoD Directive 5405.2 § 6.2, Navy Instruction
          5820.8A, and Air Force Instruction 51-301, Defendants set forth the basis for their Touhy request
          as follows:

          I.           Summary of the Litigation

                 3M was founded in 1902 as a small-scale mining venture in Northern Minnesota, and has
          grown into a global science company employing over 90,000 people. 3M produces more than
          60,000 products world-wide. Many of 3M’s brands have become universally known, including
          1
                 United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951). This request is being sent following the July 22, 2019
                 Meeting Involving Judge M.C. Rodgers, representatives of the United States Department of Defense,
                 representatives of the United States Department of Justice, Lead Counsel for Plaintiffs in In re: 3M Combat Arms
                 Earplug Products Liability Litigation, and counsel for 3M. During that meeting, it was agreed that, to provide
                 clarification and to assist with the existing Touhy requests, 3M would supplement its prior Touhy requests, dated
                 June 21, 2019.



Beijing       Boston   Chicago   Dallas   Hong Kong   Houston   London    Munich   New York   Palo Alto   Paris   San Francisco    Shanghai   Washington, D.C.
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Scotch™ Brand adhesive tapes, Post-it® Brand sticky notes, and Thinsulate™ thermal insulation,
to name just a few. In addition to its consumer-side business, 3M also has a long-standing
relationship with the federal government and provides thousands of products designed to protect
American troops and support their missions. In 2008, 3M purchased Aearo, who, at the time, was
a global leader in personal protection equipment, headquartered in Indianapolis, Indiana. The
acquisition helped 3M expand its occupational health and environmental safety platform by adding
hearing protection, eyewear protection, and fall protection to its product lines, including Combat
Arms Earplugs - the subject of this litigation.

       Hearing loss is a common injury among military veterans. The U.S. military has provided
hearing protection and preservation services to soldiers for decades. In support of that mission,
the military employs audiologists to administer hearing conservation programs and work with
outside contractors, like 3M, to advance their hearing protection goals.

        The complaints in this MDL assert claims for alleged hearing loss or tinnitus allegedly
caused by noise exposure while wearing the Combat Arms Earplugs Version 2. CAEv2 was
developed and designed by Aearo at the request of and in close consultation with U.S. military
audiologists, including Dr. Doug Ohlin, former Program Manager, Hearing Conservation, U.S.
Army Center for Health Promotion and Preventative Medicine. Specifically, the U.S. military and
Aearo decided to modify and update Aearo’s Ultrafit® triple-flanged earplug by including a
specially patented filter created by the French-German Institute in Saint Louis, France (“ISL”).
Thereafter, Aearo worked with the U.S. military and ISL to develop an earplug embodying ISL’s
patented technology, which ultimately became CAEv2.

       CAEv2 is a “dual ended” earplug that consists of two Ultra-fit type tips, one green and one
yellow, attached to opposite sides of a plastic stem with a small opening at the center. The green
end works like a conventional passive earplug, providing steady attenuation of ambient noise. In
contrast, the yellow end is nonlinear and attenuates different sounds differently. In particular,
sound travels into the opening at the center of the earplug and through a sound channel and the
patented ISL filter before entering the ear. The filter allows lower-level sounds, such as speech,
to pass through with minimal attenuation, but provides increased attenuation for higher-level
impulse noises, like gun-fire. This enables the user to experience enhanced situation awareness
while receiving some protection from unexpected impulse noise.

        Throughout the design process, Aearo worked closely with the U.S. military to ensure that
CAEv2 would appropriately balance performance with military operational needs for soldiers and
military personnel. These specifications were memorialized in a Medical Procurement Item
Description (“MPID”) that was used by the Defense Logistics Agency to solicit bids from Aearo
for CAEv2. Design decisions regarding the CAEv2 may be contained in emails and other
communications with Dr. Doug Ohlin. And one or more branches of the military may have tested
the products’ performance.
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       To date, over 900 cases have been filed on behalf of current or former military personnel.
These claims allege plaintiffs were provided CAEv2 by various branches of the military, and used
CAEv2 during training and/or deployment. Plaintiffs asserting these claims typically allege
hearing loss and/or tinnitus as a result of noise exposure in military and combat settings, and assert
claims for design defect, negligence, failure to warn, breach of warranties, and/or fraud. On April
3, 2019, the Judicial Panel on Multidistrict Litigation entered an order consolidating the cases in
an MDL before Judge Rodgers in the Northern District of Florida.

II.    Summary and Relevance of the Documents Requested

         Government actions and knowledge are critical issues in this litigation. The DoD, DLA,
Army, Navy, Marine Corps, Air Force and Coast Guard exclusively possess necessary information
concerning the military’s decision to buy CAEv2 from Defendants, the precise specifications
Defendants were required to follow in designing, evaluating, and selling the earplugs, military
procurement and Indefinite-Quantity contracts, design features, operational considerations in the
design of the earplugs, product testing, audiology reports and studies, and training, safety, and
fitting information provided to service members. These materials speak to, among other things,
plaintiffs’ allegations that there was a product defect or failure to warn, Defendants’ affirmative
defenses, and various bases for the Court’s subject matter jurisdiction over certain claims.
Accordingly, DoD, DLA, Army, Navy, Marine Corps, Air Force and Coast Guard possess
information that is necessary for the Court to evaluate the parties’ claims and defenses.

        Defendants’ specific document requests are contained in Section III, below. In short,
Defendants request documents regarding: (a) design specifications and requests for proposals; (b)
the military’s purchase and distribution of CAEv2; (c) instructions for CAEv2 and other earplugs;
(d) complaints or recalls related to CAEv2; (e) communications with Dr. Doug Ohlin regarding
CAEv2; (f) communications with Moldex-Metric, Inc. regarding CAEv2; (g) CAEv2 testing; (h)
policies and procedures regarding earplug fit for service members; (i) noise and ototoxin exposure
in the military; and (j) hearing protection usage in the military. These documents are relevant to
the claims and defenses in the above-referenced litigation for numerous reasons, including the
following.

        Documents regarding design specifications and requests for proposals. First,
documents regarding design specifications and requests for proposals will rebut plaintiffs’ claims
that CAEv2 was defectively designed, including by showing that design decisions balanced
military performance requirements with operational needs for soldiers and military personnel.
Second, these documents are relevant to establish Defendants’ “government contractor” defense,
under which a defendant is not liable for alleged defects or negligence with respect to military
equipment or supplies “when (1) the United States approved reasonably precise specifications; (2)
the equipment conformed to those specifications; and (3) the supplier warned the United States
about the dangers in the use of the equipment that were known to the supplier but not to the United
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States.” Boyle v. United Techs. Corp., 487 U.S. 500, 512 (1988). In particular, the requested
documents will show, among other things, that the military established reasonably precise
specifications governing CAEv2’s performance, testing, inspection, packaging, and labeling.
Third, these documents are relevant to the Court’s subject matter jurisdiction under the “federal
officer removal statute,” 28 U.S.C. § 1442(a)(1), which provides for federal jurisdiction where, as
here, the complained of conduct was taken under the direction of a federal officer, and the
defendant has “colorable” federal defenses (such as the “government contractor” defense
referenced above). See e.g., Ruppel v. CBS Corp., 701 F.3d 1176, 1180 (7th Cir. 2012) (removal
under the federal officer removal statute “promotes litigating federal defenses … in a federal forum
so that ‘the operations of the general government [are not] arrested at the will of one of [the
states]’”).

         Documents regarding purchasing and distribution data. First, documents regarding
purchasing and distribution data will help identify which plaintiffs may have used CAEv2, which
is a threshold issue for any claim. Second, these documents will help determine when a particular
plaintiff used CAEv2 and are thus relevant to whether any claims are barred by the applicable
statute of limitations. Third, these documents may show whether and to what extent CAEv2 was
distributed in combat zones, which is relevant to Defendants’ “combatant activities” defense.
Although Congress waived sovereign immunity for tort claims against the United States and those
acting on its behalf in the Federal Tort Claims Act, it excluded “claims arising out of combatant
activities of the military or armed forces, or the Coast Guard, during time of war.” 28 U.S.C. §
2680(j). This “combatant activities” exception has been applied to contractors like Defendants to
create a federal defense shielding manufacturers from tort claims arising from war. 2 Fourth, these
documents will show that CAEv2 was distributed at least in part at military bases, which is relevant
to the Court’s subject matter jurisdiction under the “federal enclave” doctrine. In particular,
“[f]ederal courts have federal question jurisdiction over tort claims that arise on ‘federal
enclaves,’” such as military bases, Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1250 (9th
Cir. 2006), and Defendants have removed certain cases from state court to federal court in part on
that basis.3

       Documents regarding instructions for CAEv2 and other earplugs. First, documents
regarding instructions for CAEv2 and other earplugs may rebut plaintiffs’ principal allegation that

2
     See, e.g., Saleh v. Titan Corp., 580 F.3d 1, 6 (D.C. Cir. 2009) (applying § 2680(j) exception to tort claims arising
     from treatment of inmates in military prison in Iraq brought against private contractor); Bentzlin v. Hughes
     Aircraft Co., 833 F. Supp. 1486, 1492 (C.D. Cal. 1993) (“The combatant activities exception generates a federal
     common law defense which immunizes manufacturers such as Hughes from state tort suits arising from war.”).
3
     See Jamil v. Workforce Resources, LLC, 2018 WL 2298119 (C.D. Cal. May 21, 2918) (“Camp Pendleton is a
     federal enclave”); see also Haining v. Boeing Co., 2013 WL 4874975, at *2 (C.D. Cal. Sept. 11, 2013) (concluding
     Vandenberg AFB is a federal enclave).
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Defendants failed to adequately instruct the military or individual service members on proper use,
including in particular plaintiffs’ allegation that Defendants did not instruct the military to “roll
back” the flanges on the opposite end prior to insertion. Second, a central issue in this litigation is
whether and to what extent the plaintiffs received and/or followed training on how to properly
insert earplugs, such as CAEv2, in their ears. Plaintiffs’ failure to properly insert an earplug in
their ears could decrease the attenuation provided by that earplug, and thus undermine any
argument that a product defect caused their alleged injuries. Third, for similar reasons, these
documents may support that particular plaintiffs misused CAEv2, which is a common law defense
to certain claims. Fourth, these documents may be relevant to Defendants’ “government
contractor” defense, which, as discussed above, requires a showing that the government was on
notice of alleged product dangers. For example, to the extent the military included in service
member instructions a reference to the product characteristics plaintiffs now challenge—such as
“rolling back” any flanges prior to insertion—then that would support that the government was on
notice of those issues.

        Documents regarding complaints or recalls related to CAEv2. First, to the extent there
are no or few complaints or recalls, then that may undermine any assertion that CAEv2 was
defective. Second, complaints by any particular plaintiff are relevant to showing the date on which
the plaintiff was on notice of the alleged defect, which is relevant to whether the statute of
limitations has run on his or her claims. Third, complaints by individual plaintiffs may show that
they continued to use CAEv2 after gaining knowledge of the alleged issue, which would support
various common law defenses to plaintiffs’ tort claims, such as “assumption of the risk” and
“failure to mitigate.” Fourth, to the extent the government continued to purchase and use CAEv2
after receiving complaints about its performance, then that would support Defendants’ government
contractor defense, which, as noted above, requires a showing that the government was on notice
of the alleged product dangers.

        Communications with Dr. Doug Ohlin regarding CAEv2. First, communications with
Dr. Ohlin regarding CAEv2 will rebut plaintiffs’ allegations that CAEv2 was defectively designed
by showing that the military participated in the design of CAEv2 and made decisions that balanced
performance requirements with operational needs for soldiers and military personnel. Second,
these documents will help to establish Defendants’ “government contractor” defense by showing
that the military approved reasonably precise specifications and was on notice of the alleged
product dangers. Third, like the design specifications and requests for proposals discussed above,
Ohlin’s communications regarding CAEv2 are relevant to the Court’s jurisdiction under the federal
officer removal statute, which provides for federal jurisdiction where, as here, the complained of
conduct was performed under the direction of a federal officer. 28 U.S.C. § 1442(a)(1).

       Communications with Moldex regarding CAEv2. At and around the time Defendants
were working with the military to develop CAEv2, Moldex was marketing a competing product to
the military known as the BattlePlug. To the extent that Moldex criticized the Combat Arms
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Earplugs during its communications with the military, or compared and contrasted various features
of the BattlePlug with those of the Combat Arms Earplugs, then those communications may be
relevant to show, among other things, the military’s knowledge of any alleged product dangers,
which, as noted above, is relevant to Defendants’ “government contractor” defense.

        Documents regarding CAEv2 testing. First, CAEv2 test results will undermine
plaintiffs’ allegation that the product was defective. Second, testing documents in the military’s
possession—whether or not the test was performed by the military—will show that the military
was on notice of CAEv2 performance capabilities, which is relevant to, among other things,
plaintiffs’ failure to warn claims, Defendants’ “government contractor” defense, and the Court’s
jurisdiction under the federal officer removal statute.

        Policies and procedures regarding earplug fit for service members. First, policies and
procedures regarding earplug fit for service members will show whether and how the military
determined that CAEv2 would fit in particular plaintiffs’ ear canals. To the extent such a
determination was made, then that would undermine any allegation that the earplug did not “fit” a
particular plaintiff. To the extent it was not, then that may show that plaintiffs were not using the
earplug appropriately. Second, policies showing that the military required trained medical staff to
make an individual determination of fit for each service member will undermine any allegation
that Defendants were responsible for fitting individual service members. Third, these documents
may show whether and how the military trained soldiers to insert earplugs like CAEv2 into their
ears. As discussed above, Plaintiffs’ failure to properly insert CAEv2 could significantly impact
attenuation, and thus undermine plaintiffs’ argument that a product defect caused their alleged
injuries. Fourth, these documents may provide the basis for a defense that plaintiffs’ misused
CAEv2 by failing to follow military policies.

        Documents regarding noise and ototoxin exposure in the military. First, documents
regarding noise exposure data—such as noise dosimetry and sound level data—will show that
plaintiffs were exposed to a wide variety of potentially dangerous noises or ototoxins unrelated to
their use of CAEv2, which will undermine plaintiffs’ allegation that CAEv2 caused their alleged
injuries. Second, these documents may show that individual plaintiffs violated military hearing
protection recommendations by performing dangerous activities with no or insufficient hearing
protection, which would also undermine any assertion that CAEv2 caused their alleged injuries.
Third, these documents may also support Defendants’ “combatant activities” defense by showing
that service members were required to wear CAEv2 in combat situations. Fourth, these documents
may also be relevant to whether plaintiffs’ claims present non-justiciable political questions,
insofar as plaintiffs are challenging the military’s strategic decisions regarding equipment to be
worn in combat settings. Fifth, for similar reasons, these documents are also relevant to the Court’s
subject matter jurisdiction under the federal officer removal statue, which requires a showing that
Defendants have “colorable” defenses under federal law.
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        Documents regarding (actual) hearing protection usage in the military. These
documents are relevant to the issue of whether or not military service members typically use
recommended or required hearing protection—including both in training and in combat settings—
which is relevant to, among other things, plaintiffs’ assertions that CAEv2 caused their alleged
injuries.

III.   Document Requests

       Pursuant to United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951), and the above-
referenced statutes, directives and instructions, Defendants request the following documents from
the DoD, DLA, Army, Navy, Marine Corps, Air Force, and Coast Guard. To the extent that these
documents relate to the procurement, design specifications, and audiology-related studies of
CAEv2, Defendants understand that the contracting officer, the contracting officer’s
representative, and the hearing conservation program manager may be likely sources of the
requested information.

       A.     Documents Regarding Design Specifications And Requests For Proposals.

       1.     Specifications and drawings for the CAEv2.

       2.     Specifications and drawings for the earplug carrying case (national stock number
              (NSN)) 6515-01-100-1674, olive drab color.

       3.     Specifications and drawings for the earplug carrying case (national stock number
              (NSN)) 6515-01-533-6168, navy blue color.

       4.     Request for Proposal known as Solicitation No. SP0200-06-R-4202.

       5.     Request for Proposal known as Solicitation No. SP0200-07-D-4103.

       6.     Responses to Solicitation No. SP0200-06-R-4202, including from 3M and Aearo.

       7.     Responses to Solicitation No. SP0200-07-D-4103, including from 3M and Aearo.

       8.     Requests for Proposals, Commerce Business Daily announcements, or
              solicitations including design and/or performance specifications, features or
              performance requirements for any “nonlinear,” “level-dependent,” “sound
              transmission,” “amplitude-sensitive,” “pass-through,” “gunshot-reactive,”
              “shooter’s earplug,” “dual state,” or “situation-awareness enhancing” hearing
              protection device or earplug or ear insert style, from January, 1998 to December,
              2015.
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      9.     Request for Proposals, Commerce Business Daily announcements, or solicitations
             that include any design and/or performance specifications, features or other
             requirements related to the sizing of any hearing protective earplug, the
             distribution of military personnel to be accommodated by various sizes of
             earplugs, or the means of matching earplug sizes to individuals, from January,
             1998 to December, 2015.

      10.    Request for Proposals, Commerce Business Daily announcements, or solicitations
             that include any design and/or performance specifications, features or other
             requirements related to the length and/or diameter of any hearing protective
             earplug, and/or the compatibility of any hearing protective earplug with other
             headgear such as helmets or earphones, from January, 1998 to December, 2015.

      B.     Documents Regarding Purchasing And Distribution Of CAEv2.

      1.     Documents sufficient to show: (i) the number of CAEv2 earplugs purchased by
             the United States; (ii) the dates on which CAEv2 earplugs were purchased by the
             United States, and the number purchased on each such date; (iii) the number of
             CAEv2 earplugs purchased for the (a) Army, (b) Navy, (c) Marine Corps, (d) Air
             Force, and (e) Coast Guard; and (iv) the identity of the distributor who made each
             sale of CAEv2 earplugs to the United States on each date.

      2.     Documents sufficient to show: (i) the specific locations to which CAEv2 earplugs
             were distributed, including the number distributed to each; (ii) if applicable, the
             military unit (e.g., division, brigade, battalion/battery, regiment, fleet, squadron,
             company, etc.) to which CAEv2 earplugs were distributed, including the number
             distributed to each; (iii) if applicable, the bases to which CAEv2 earplugs were
             distributed, including the number distributed to each base; and (iv) if applicable,
             the audiology or public health program directors to whom CAEv2 were
             distributed, including the number distributed to each.

      C.     Documents Regarding Instructions For CAEv2 And Other Earplugs.

      1.     Wallet Card instructions, Blister Pack instructions, Retail Pack instructions,
             instructions on or with bulk earplug boxes, and other bulk packaging instructions
             for CAEv2 from January, 1998 to December, 2015.

      2.     Training materials regarding the proper use, fit, maintenance, and/or care of
             CAEv2 from January, 1998 to December, 2015, including but not limited to,
             presentations, slide decks, computerized tutorials, on-line instructions, printed
             instructions, pamphlets, or memoranda.
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      3.     Specifications, instructions or training materials relating to folding back, flipping
             backward, rolling back, or reversal of the flanges of any flange-style hearing
             protective earplug from January, 1998 to December, 2015.

      D.     Documents Regarding Complaints Or Recalls Related To CAEv2.

      1.     Feedback and complaints relating to the CAEv2 provided by service member
             users.

      2.     Feedback and complaints relating to the CAEv2 provided by military audiologists
             and medically trained personnel.

      3.     Product recalls and accident or injury documentation related to CAEv2 from
             January, 1998 to December, 2015.

      E.     Communications With Dr. Douglas Ohlin Regarding CAEv2.

      1.     Communications relating to the CAEv2 that are to, from, copying, or involving
             Dr. Douglas Ohlin from 1998 to 2012. 3M requests that the following search
             terms be used to search these communications: “CAE” OR “CAEP” OR
             “Combat Arms” OR “CAEv2” OR “CEP” OR “Aearo” OR “Aero” OR “3M” OR
             “Berger” OR “wallet card” OR flange OR “NRR” OR “ISL” OR “Institut Saint-
             Louis” OR “Moldex” OR “battleplug” OR “hear-through” OR “pass-through”
             “level-dependent” OR “amplitude-sensitive” OR “CAEP” OR “double-ended”
             OR “double-sided” OR “imperceptible” OR “imperceptibly” OR “slippage” OR
             “carrying case.” To the best of 3M’s knowledge, Dr. Ohlin’s email addresses
             during this time frame were: doug.ohlin@us.army.mil;
             Douglas.Ohlin@APG.AMEDD.ARMY.MIL;
             Douglas.Ohlin@AMEDD.ARMY.MIL.

      F.     Communications With Moldex-Metric, Inc. Regarding CAEv2.

      1.     Communications relating to the CAEv2 that are to, from, copying, or involving
             employees or other representatives of Moldex-Metric, Inc. from January 1998 to
             December 2015. 3M requests that the emails of Lieutenant Colonel Eric Fallon,
             Lieutenant Colonel Marjorie Grantham, Lieutenant Colonel Martin Robinette,
             Lieutenant Colonel John Merkley, Colonel Kathy Gates, and Brian Hobbs be
             searched using the same search terms specified for Dr. Douglas Ohlin in III.E
             above. To the best of 3M’s knowledge, their email addresses were:
             marjorie.grantham@us.army.mil; marjorie.grantham@arl.army.mil;
             marjorie.a.grantham.mil@mail.mil; martin.robinette@us.army.mil;
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             martin.b.robinette.mil@mail.mil; john.a.merkley.mil@mail.mil;
             john.merkley@us.af.mil; John.Merkley@us.army.mil;
             John.Merkley2@AMEDD.ARMY.MIL; Kathy.Gates@us.army.mil;
             kathy.e.gates.ctr@mail.mil; brian.hobbs@med.navy.mil;
             eric.fallon@us.army.mil; Eric.Fallon@med.navy.mil.

      G.     Documents Regarding CAEv2 Testing.

      1.     CAEv2 test results (excluding test results that are publicly available) provided to
             the Army, Navy, Marine Corps, Coast Guard, Air Force, Defense Logistics
             Agency, and Department of Defense from testing laboratories internal to the
             DoD:

             a. CAEv2 attenuation testing for continuous and impulsive noise (on either end
                of the earplug) performed according to any of the following standards:
                ANSI/ASA S3.19-1974, ANSI/ASA S12.6-1997, ANSI/ASA S12.6-2008,
                ANSI/ASA S12.6-2016, ANSI/ASA S12.42-1995, ANSI/ASA S12.42-2010,
                and MIL-STD-912;

             b. CAEv2 test results from Army Research Laboratory, Aberdeen Proving
                Ground, Maryland;

             c. CAEv2 test results from U.S. Army Aeromedical Research Laboratory, Ft.
                Rucker, Alabama;

             d. CAEv2 test results from Air Force Research Laboratory, Wright-Patterson Air
                Force Base, Ohio;

             e. CAEv2 test results from Naval Air Systems Command, Patuxent River,
                Maryland;

             f. CAEv2 test results from White Sands Missile Range, New Mexico;

             g. CAEv2 test results publications, or research authored or presented by any of
                the following individuals: Dr. Lorraine Babeu, Dr. Kathy Gates, Dr. Nancy
                Vause, Dr. Richard Price, Dr. Joel Kalb, Dr. P. Fedel, Dr. Georges Garinther,
                Dr. Tomas R. Letowski, Richard McKinley, Dr. Doug Ohlin (deceased), Dr.
                William Ahroon, Dr. Douglas Brungart, Dr. Eric Fallon, Douglas Moses,
                and/or Elliott Berger.

      2.     Data and protocols relating to any of the above-listed tests, including if the test
             results are publicly available but the data and protocols are not publicly available.
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      3.     CAEv2 test results (excluding test results that are publicly available) provided to
             the Army, Navy, Marine Corps, Coast Guard, Air Force, Defense Logistics
             Agency, and Department of Defense from testing laboratories external to the
             DoD:

             a. CAEv2 attenuation testing for continuous and/or impulsive noise (on either
                end of the earplug) performed according to any of the following standards:
                ANSI/ASA S3.19-1974, ANSI/ASA S12.6-1997,ANSI/ASA S12.6-2008,
                ANSI/ASA S12.6-2016, ANSI/ASA S12.42-1995, ANSI/ASA S12.42-2010,
                and MIL-STD-912;

             b. CAEv2 test results from NIOSH; and

             c. CAEv2 test results from A.L. Dancer or P.J.F. Hamery of French-German
                Research Institut of Saint-Louis.

      4.     Data and protocols relating to any of the above-listed tests, including if the test
             results are publicly available but the data and protocols are not publicly available.

      H.     Policies And Procedures Regarding Earplug Fit For Service Members.

      1.     Policies and procedures relating to compliance with ST 4-02.501 (Feb. 1 2008),
             Army Hearing Program, § 4-54, that medically trained personnel must fit service
             members with triple-flanged earplugs to ensure a proper fit.

      2.     Policies and procedures relating to compliance with Department of the Army
             Pamphlet 40-501, Hearing Conservation, that medically trained personnel must fit
             service members with triple-flanged earplugs to ensure a proper fit.

      3.     Policies and procedures relating to compliance with DoD Instruction 6055.12
             (Dec. 3, 2010), DoD Hearing Conservation Program, Enclosure 3, § 7(i), that
             medically trained personnel must fit service members with preformed earplugs to
             ensure a proper fit.

      4.     Policies and procedures relating to compliance with TM6260.51.99-2 (Sept. 15,
             2008), Navy Hearing Conservation Program Procedures, § C1.4.1, that medically
             trained personnel must fit service members with preformed earplugs to ensure a
             proper fit.
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      I.     Documents Regarding Noise And Ototoxin Exposure In The Military.

      1.     Noise dosimetry data or other documents regarding the amount of noise service
             members are exposed to in particular specialties, in particular situations, or when
             operating particular weapons.

      2.     Sound level data and recommendations for hearing protection in particular
             situations or when operating particular weapons, such as those documented on
             DD Form 2214.

      3.     Documents that contain recommendations and/or guidelines for specific hearing
             protectors to be worn when using specific weapons or when encountering other
             noise exposures.

      4.     Documents regarding military noise exposures or hearing protection
             recommendations or guidelines authored by the following individuals, excluding
             documents that are publicly available: Dr. Richard Price, Dr. Joel Kalb, Dr. P.
             Fedele, Dr. Georges Garinther, Dr. Tomas R. Letowski, Richard McKinley, Dr.
             Lorraine Babeu, Dr. Doug Ohlin (deceased), Dr. William Ahroon, Dr. Douglas
             Brungart, and Dr. Eric Fallon.

      5.     Research by Dr. Richard Price and/or Dr. Joel Kalb of the Army Research
             Laboratory that has used the Auditory Hazard Assessment Algorithm for Humans
             (“AHAAH”) model in connection with nonlinear earplugs, including the CAEv2,
             excluding documents that are publicly available.

      6.     Studies or policies relating to the prevention of service member exposure to the
             following ototoxins: toluene, xylene, n-hexane, organic tin, carbon disulfide,
             mercury, organic lead, hydrogen cyanide, diesel fuel, kerosene fuel, jet fuel,
             organophosphate pesticides, and nerve agents, excluding documents that are
             publicly available.

      7.     Internal research and results relating to the Noise Outcomes in Service Member
             Epidemiology (“NOISE”) Study.

      8.     Policies and procedures regarding effective \quiet areas (e.g., effective quiet areas
             on a U.S. Navy aircraft carrier) designed to expose service members to lower
             levels of noises, excluding documents that are publicly available. See also ST 4-
             02.501, Army Hearing Program, Section 4-18 (Feb. 1 2008) (“The most effective
             administrative control is to provide quiet areas where Soldiers can gain relief from
             workplace noise. Areas used for breaks and dining facilities should be located
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              away from noise. If these areas must be near noise, they should have noise
              barriers appropriately placed to minimize background noise levels.”);
              https://www.ncbi.nlm.nih.gov/pubmed/30943127 (abstract of article entitled
              “Noise characterization of ‘effective quiet’ areas on a U.S. Navy aircraft carrier”).

       J.     Documents Regarding Hearing Protection Usage In The Military.

       1.     Studies regarding the actual (as opposed to suggested or required) usage of
              hearing protection (including, but not limited to, CAEv2) by service members in
              training or combat from 2000 to the present.

IV.    Additional Considerations

         These requests comply with the policies of the DoD, DLA, Army, Navy, Marine Corps,
Air Force, and Coast Guard regarding the provision of information by its employees in connection
with litigation in federal court:

       1.     Disclosure of the requested information is not unduly burdensome or otherwise
              inappropriate under the federal discovery rules.

       2.     Disclosure of the requested information would be appropriate under the Federal
              Rules of Evidence and appropriate under the rules of the Northern District of
              Florida.

       3.     Disclosure of the requested information would be appropriate under the Federal
              Rules of Civil Procedure and would not impact any concerns regarding privileged
              information pursuant to the rules of procedure governing this litigation.

       4.     Disclosure of the requested information would not violate any statute, executive
              order, regulation, or directive.

       5.     Disclosure of the requested information would not reveal any classified
              information, data restricted pursuant to AR 380-5, unclassified technical data
              withheld from public release pursuant to 32 C.F.R. § 250 or DoD Directive
              5230.25, privileged safety information restricted from public release by DoD
              Directive 6055.7, AFI 31-401, or other matters exempt from unrestricted
              disclosure.

       6.     Disclosure of the requested information would not interfere with ongoing
              enforcement proceedings, compromise any constitutional rights, reveal the
              identity of an intelligence source or confidential informant, disclose trade secrets
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               or similarly confidential commercial or financial information, or otherwise be
               inappropriate under the circumstances.

       7.      Disclosure would not violate any person’s expectation of confidentiality or
               privacy.

       8.      The United States is not, and is not reasonably anticipated to be, a party in this
               litigation.

See 32 C.F.R. §§ 97.6(b)(1)-(6); 32 C.F.R. §§ 516.41(d), 516.44; Navy Instruction 5280.8A(1)-
(10); Department of Defense Directive 5405.2 § 6.2; 33 C.F.R. § 1.20-1; 6 C.F.R. § 5.45; Air Force
Instruction 51-301, 9.5.1-9.5.6.

V.     Administrative Matters

         Defendants will bear the costs of duplicating and producing the documents sought by this
Touhy request. Costs will be paid by check or money order payable to the Treasury of the United
States. For ease of production, all electronically stored information can be produced via a secure
file transfer protocol site that will be provided free of charge or via electronic storage media that
will be provided to you at no charge and upon your request. Any requests for assistance with the
transmittal of electronically stored documents, or coordination of the inspection of documents
should be made to Michelle Six, counsel for Defendants, at (212) 446-4693 or
michelle.six@kirkland.com. Additionally, to the extent the DoD, DLA, Army, Navy, Marine
Corps, Air Force, or Coast Guard believe any of the requested information does not implicate the
statutory considerations set forth above, Defendants are willing to work with the DoD, DLA,
Army, Navy, Marine Corps, Air Force, or Coast Guard to narrow the scope of the request.

       If you anticipate that full production will require more than one hundred twenty (120) days
from the date of service, we request that you notify Defendants and/or the Court. Should you have
any questions or require additional information about this Touhy request, please do not hesitate to
contact me. Thank you for your assistance.
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                                       Sincerely,




                                       Kimberly Olvey Branscome, P.C.


                                       Attorney for Defendants
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cc:   Michael J. Fucci
      Associate General Counsel
      Department of Defense
      michael.j.fucci.civ@mail.mil
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                     EXHIBIT 3
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                                                               December 2, 2019

           Via E-mail

           Major Collin Evans
           Litigation Attorney, General Litigation
           Branch
           U.S. Army Legal Services Agency
           9275 Gunston Road
           Ft. Belvoir, VA 22060
           Collin.p.evans2.mil@mail.mil
           703-693-0352




                            Re:        Supplemental Touhy Request For Documents Relating to In re: 3M
                                       Combat Arms Earplug Products Liability Litigation, 3:19-md-02885-MCR-
                                       GRJ (N.D. Fla.)

       Dear Major Evans:

               In connection with In re: 3M Combat Arms Earplug Products Liability Litigation—a
       multidistrict litigation pending before Judge Rodgers in the Northern District of Florida—this
       letter constitutes Defendants 3M Company (“3M”) and Aearo Technologies LLC’s (“Aearo”)
       supplemental Touhy 1 request to the United States Department of Defense (“DoD”), Defense
       Logistics Agency (“DLA”), Army, Navy, Marine Corps, Air Force, and Coast Guard for certain
       contracts and other documents related to, among other things, the design, sale and use of Combat
       Arms Earplugs Version 2 (“CAEv2”); and (ii) noise exposure data and hearing conservation efforts
       in the various military branches.

               Case Management Order No. 6 in MDL No. 2885 (Dkt. 6) states: “With the assistance of
       Judge Herndon, the parties must review Defendants’ supplemental DOD Touhy request dated July
       26, 2019, as well as each side’s DOD Touhy requests for interviews and/or depositions, and
       segregate the requests that are relevant to Defendants’ affirmative defenses from those which are
       not relevant to the defenses. By December 13, 2019, the parties must submit the two lists to Major

       1
             United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951).



Beijing Boston Chicago Dallas Hong Kong Houston London Munich New York Palo Alto Paris San Francisco Shanghai Washington, D.C.

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Evans and Major Kim, along with a request that the Government defer action on the Touhy requests
that are not relevant to the affirmative defenses until after it responds to the Touhy requests for
documents, interviews, and depositions that are relevant to the defenses.” Pursuant to the Court’s
Order, this supplemental Touhy requests contains two categories of document requests: (i)
document requests which should be prioritized in connection with Defendants’ affirmative
defenses; and (ii) document requests which should be de-prioritized. 2

       Pursuant to 32 C.F.R. § 516.40-57 and 32 C.F.R. § 97, 33 C.F.R. § 1.20-1 and 6 C.F.R. §
5.45, DoD Directive 5405.2 § 6.2, Navy Instruction 5820.8A, and Air Force Instruction 51-301,
Defendants set forth the basis for their Touhy request as follows:

I.        SUMMARY OF THE LITIGATION

        3M was founded in 1902 as a small-scale mining venture in Northern Minnesota, and has
grown into a global science company employing over 90,000 people. 3M produces more than
60,000 products world-wide. Many of 3M’s brands have become universally known, including
Scotch™ Brand adhesive tapes, Post-it® Brand sticky notes, and Thinsulate™ thermal insulation,
to name just a few. In addition to its consumer-side business, 3M also has a long-standing
relationship with the federal government and provides thousands of products designed to protect
American troops and support their missions. In 2008, 3M purchased Aearo, who, at the time, was
a global leader in personal protection equipment, headquartered in Indianapolis, Indiana. The
acquisition helped 3M expand its occupational health and environmental safety platform by adding
hearing protection, eyewear protection, and fall protection to its product lines, including Combat
Arms Earplugs - the subject of this litigation.

        Hearing loss is a common injury among military veterans. The U.S. military has provided
hearing protection and preservation services to soldiers for decades. In support of that mission, the
military employs audiologists to administer hearing conservation programs and work with outside
contractors, like 3M, to advance their hearing protection goals.

       The complaints in this MDL assert claims for alleged hearing loss or tinnitus allegedly
caused by noise exposure while wearing the Combat Arms Earplugs Version 2. CAEv2 was
developed and designed by Aearo at the request of and in close consultation with U.S. military
audiologists, including Dr. Doug Ohlin, former Program Manager, Hearing Conservation, U.S.
Army Center for Health Promotion and Preventative Medicine. Specifically, the U.S. military and
Aearo decided to modify and update Aearo’s Ultrafit® triple-flanged earplug by including a

2
    Certain document request which should be de-prioritized may have some relevance to defendants’ affirmative
      defenses. Nonetheless, Defendants understand that the Court wishes to move expeditiously with respect to
      government discovery and, accordingly, deprioritizes certain requests.
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specially patented filter created by the French-German Institute in Saint Louis, France (“ISL”).
Thereafter, Aearo worked with the U.S. military and ISL to develop an earplug embodying ISL’s
patented technology, which ultimately became CAEv2.

        CAEv2 is a “dual ended” earplug that consists of two Ultra-fit type tips, one green and one
yellow, attached to opposite sides of a plastic stem with a small opening at the center. The green
end works like a conventional passive earplug, providing steady attenuation of ambient noise. In
contrast, the yellow end is nonlinear and attenuates different sounds differently. In particular,
sound travels into the opening at the center of the earplug and through a sound channel and the
patented ISL filter before entering the ear. The filter allows lower-level sounds, such as speech, to
pass through with minimal attenuation, but provides increased attenuation for higher-level impulse
noises, like gun-fire. This enables the user to experience enhanced situation awareness while
receiving some protection from unexpected impulse noise.

        Throughout the design process, Aearo worked closely with the U.S. military to ensure that
CAEv2 would appropriately balance performance with military operational needs for soldiers and
military personnel. These specifications were memorialized in a Medical Procurement Item
Description (“MPID”) that was used by the Defense Logistics Agency to solicit bids from Aearo
for CAEv2. Design decisions regarding the CAEv2 may be contained in emails and other
communications with Dr. Doug Ohlin. And one or more branches of the military may have tested
the products’ performance.

       To date, over 900 cases have been filed on behalf of current or former military personnel.
These claims allege plaintiffs were provided CAEv2 by various branches of the military, and used
CAEv2 during training and/or deployment. Plaintiffs asserting these claims typically allege
hearing loss and/or tinnitus as a result of noise exposure in military and combat settings, and assert
claims for design defect, negligence, failure to warn, breach of warranties, and/or fraud. On April
3, 2019, the Judicial Panel on Multidistrict Litigation entered an order consolidating the cases in
an MDL before Judge Rodgers in the Northern District of Florida.

II.    SUMMARY AND               RELEVANCE           OF     THE     PRIORITY         DOCUMENTS
       REQUESTED

         Government actions and knowledge are critical issues in this litigation. The DoD, DLA,
Army, Navy, Marine Corps, Air Force and Coast Guard exclusively possess necessary information
concerning the military’s decision to buy CAEv2 from Defendants, the precise specifications
Defendants were required to follow in designing, evaluating, and selling the earplugs, military
procurement and Indefinite-Quantity contracts, design features, operational considerations in the
design of the earplugs, product testing, audiology reports and studies, and training, safety, and
fitting information provided to service members. These materials speak to, among other things,
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Plaintiffs’ allegations that there was a product defect or failure to warn, Defendants’ affirmative
defenses, and various bases for the Court’s subject matter jurisdiction over certain claims.
Accordingly, the DoD, DLA, Army, Navy, Marine Corps, Air Force and Coast Guard possess
information that is necessary for the Court to evaluate the parties’ claims and defenses.

         Defendants’ specific priority document requests are contained in Section III, below. In
short, Defendants request documents regarding: (a) design specifications and requests for
proposals; (b) instructions for CAEv2 and other earplugs; (c) complaints or recalls related to
CAEv2; (d) communications with Dr. Doug Ohlin and other government representatives regarding
CAEv2; (e) CAEv2 testing; and (f) policies and procedures regarding earplug fit for service
members. These documents are relevant to the claims and defenses in the above-referenced
litigation for numerous reasons, including the following.

        Documents regarding design specifications and requests for proposals. First,
documents regarding design specifications and requests for proposals will rebut Plaintiffs’ claims
that CAEv2 was defectively designed, including by showing that design decisions balanced
military performance requirements with operational needs for soldiers and military personnel.
Second, these documents are relevant to establish Defendants’ “government contractor” defense,
under which a defendant is not liable for alleged defects or negligence with respect to military
equipment or supplies “when (1) the United States approved reasonably precise specifications; (2)
the equipment conformed to those specifications; and (3) the supplier warned the United States
about the dangers in the use of the equipment that were known to the supplier but not to the United
States.” Boyle v. United Techs. Corp., 487 U.S. 500, 512 (1988). In particular, the requested
documents will show, among other things, that the military established reasonably precise
specifications governing CAEv2’s performance, testing, inspection, packaging, and labeling.
Third, these documents are relevant to the Court’s subject matter jurisdiction under the “federal
officer removal statute,” 28 U.S.C. § 1442(a)(1), which provides for federal jurisdiction where, as
here, the complained of conduct was taken under the direction of a federal officer, and the
defendant has “colorable” federal defenses (such as the “government contractor” defense
referenced above). See e.g., Ruppel v. CBS Corp., 701 F.3d 1176, 1180 (7th Cir. 2012) (removal
under the federal officer removal statute “promotes litigating federal defenses … in a federal forum
so that ‘the operations of the general government [are not] arrested at the will of one of [the
states]’”).

       Documents regarding instructions for CAEv2 and other earplugs. First, documents
regarding instructions for CAEv2 and other earplugs may rebut Plaintiffs’ principal allegation that
Defendants failed to adequately instruct the military or individual service members on proper use,
including in particular Plaintiffs’ allegation that Defendants did not instruct the military to “roll
back” the flanges on the opposite end prior to insertion. Second, a central issue in this litigation is
whether and to what extent the Plaintiffs received and/or followed training on how to properly
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insert earplugs, such as CAEv2, in their ears. Plaintiffs’ failure to properly insert an earplug in
their ears could decrease the attenuation provided by that earplug, and thus undermine any
argument that a product defect caused their alleged injuries. Third, for similar reasons, these
documents may support that particular Plaintiffs misused CAEv2, which is a common law defense
to certain claims. Fourth, these documents may be relevant to Defendants’ “government
contractor” defense, which, as discussed above, requires a showing that the government was on
notice of alleged product dangers. For example, to the extent the military included in service
member instructions a reference to the product characteristics Plaintiffs now challenge—such as
“rolling back” any flanges prior to insertion—then that would support that the government was on
notice of the issue.

        Documents regarding complaints or recalls related to CAEv2. First, to the extent there
are no or few complaints or recalls, then that may undermine any assertion that CAEv2 was
defective. Second, complaints by any particular Plaintiff are relevant to showing the date on which
the Plaintiff was on notice of the alleged defect, which is relevant to whether the statute of
limitations has run on his or her claims. Third, complaints by individual Plaintiffs may show that
they continued to use CAEv2 after gaining knowledge of the alleged issue, which would support
various common law defenses to Plaintiffs’ tort claims, such as “assumption of the risk” and
“failure to mitigate.” Fourth, to the extent the government continued to purchase and use CAEv2
after receiving complaints about its performance, then that would support Defendants’ government
contractor defense, which, as noted above, requires a showing that the government was on notice
of the alleged product dangers.

        Communications with Dr. Doug Ohlin and other government representatives
regarding CAEv2. First, communications with Dr. Ohlin and other government representatives
regarding CAEv2 will rebut Plaintiffs’ allegations that CAEv2 was defectively designed by
showing that the military participated in the design of CAEv2 and made decisions that balanced
performance requirements with operational needs for soldiers and military personnel. Second,
these documents will help to establish Defendants’ “government contractor” defense by showing
that the military approved reasonably precise specifications, engaged in a continuous back-and-
forth dialogue with Defendants regarding design specifications, and was on notice of the alleged
product dangers. Third, like the design specifications and requests for proposals discussed above,
Ohlin’s and other government representatives’ communications regarding CAEv2 are relevant to
the Court’s jurisdiction under the federal officer removal statute, which provides for federal
jurisdiction where, as here, the complained of conduct was performed under the direction of a
federal officer. 28 U.S.C. § 1442(a)(1).

        Documents regarding CAEv2 testing. First, CAEv2 test results will undermine
Plaintiffs’ allegation that the product was defective. Second, testing documents in the military’s
possession—whether or not the test was performed by the military—will show that the military
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was on notice of CAEv2 performance capabilities, which is relevant to, among other things,
Plaintiffs’ failure to warn claims, Defendants’ “government contractor” defense, and the Court’s
jurisdiction under the federal officer removal statute.

        Policies and procedures regarding earplug fit for service members. First, policies and
procedures regarding earplug fit for service members will show whether and how the military
determined that CAEv2 would fit in particular Plaintiffs’ ear canals. To the extent such a
determination was made, then that would undermine any allegation that the earplug did not “fit” a
particular Plaintiff. To the extent it was not, then that may show that Plaintiffs were not using the
earplug appropriately. Second, policies showing that the military required trained medical staff to
make an individual determination of fit for each service member will undermine any allegation
that Defendants were responsible for fitting individual service members. Third, these documents
may show whether and how the military trained soldiers to insert earplugs like CAEv2 into their
ears. As discussed above, Plaintiffs’ failure to properly insert CAEv2 could significantly impact
attenuation, and thus undermine Plaintiffs’ argument that a product defect caused their alleged
injuries. Fourth, these documents may provide the basis for a defense that Plaintiffs’ misused
CAEv2 by failing to follow military policies.

III.   PRIORITY DOCUMENT REQUESTS FOR AFFIRMATIVE DEFENSES.

       Pursuant to United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951), Case Management
Order No. 6 in MDL No. 2885, and the above-referenced statutes, directives and instructions,
Defendants request the following prioritized documents from the DoD, DLA, Army, Navy, Marine
Corps, Air Force, and Coast Guard. To the extent that these documents relate to the procurement,
design specifications, and audiology-related studies of CAEv2, Defendants understand that the
contracting officer, the contracting officer’s representative, and the hearing conservation program
manager may be likely sources of the requested information.

       A.      Documents Regarding Design Specifications And Requests For Proposals.

       1.      Specifications and drawings for the CAEv2.

       2.      Specifications and drawings, including those transmitted via email, related to the
               stem size and/or length of the CAEv2 from 1996 to 2000.

       3.      Documents related to Georges Garinther’s APEX trip to the ISL Institute in France
               December 5-23, 1995.
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      4.     Documents pertaining to the December 16, 1997 meeting at Aberdeen Proving
             Ground, Maryland attended by G. Richard (“Dick”) Price, Dr. Doug Ohlin, Georges
             Garinther, Theresa Schultz, Armand Dancer, Pascal Hamery, and Elliott Berger.

      5.     Documents, including those transmitted via email, related to CAEv2 prototype
             samples received by Dr. Ohlin from Defendants in 1998.

      6.     Specifications and drawings for the earplug carrying case (national stock number
             (NSN)) 6515-01-100-1674, olive drab color.

      7.     Specifications and drawings for the earplug carrying case (national stock number
             (NSN)) 6515-01-533-6168, navy blue color.

      8.     Request for Proposal known as Solicitation No. SP0200-06-R-4202.

      9.     Request for Proposal known as Solicitation No. SP0200-07-D-4103.

      10.    Responses to Solicitation No. SP0200-06-R-4202, including from 3M and Aearo.

      11.    Responses to Solicitation No. SP0200-07-D-4103, including from 3M and Aearo.

      12.    Requests for Proposals, Commerce Business Daily announcements, or solicitations
             including design and/or performance specifications, features or performance
             requirements for any “nonlinear,” “level-dependent,” “sound transmission,”
             “amplitude-sensitive,” “pass-through,” “gunshot-reactive,” “shooter’s earplug,”
             “dual state,” or “situation-awareness enhancing” hearing protection device or
             earplug or ear insert style, from January, 1998 to December, 2015.

      13.    Request for Proposals, Commerce Business Daily announcements, or solicitations
             that include any design and/or performance specifications, features or other
             requirements related to the sizing of any hearing protective earplug, the distribution
             of military personnel to be accommodated by various sizes of earplugs, or the
             means of matching earplug sizes to individuals, from January, 1998 to December,
             2015.

      14.    Request for Proposals, Commerce Business Daily announcements, or solicitations
             that include any design and/or performance specifications, features or other
             requirements related to the length and/or diameter of any hearing protective
             earplug, and/or the compatibility of any hearing protective earplug with other
             headgear such as helmets or earphones, from January, 1998 to December, 2015.
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      B.     Documents Regarding Instructions For CAEv2 And Other Earplugs.

      1.     Wallet Card instructions, Blister Pack instructions, Retail Pack instructions,
             instructions on or with bulk earplug boxes, and other bulk packaging instructions
             for CAEv2 from January, 1998 to December, 2015.

      2.     Training materials regarding the proper use, fit, maintenance, and/or care of CAEv2
             from January, 1998 to December, 2015, including but not limited to, presentations,
             slide decks, computerized tutorials, on-line instructions, printed instructions,
             pamphlets, or memoranda.

      3.     Specifications, instructions or training materials relating to folding back, flipping
             backward, rolling back, or reversal of the flanges of any flange-style hearing
             protective earplug from January, 1998 to December, 2015.

      4.     Documents and photos, including drafts, input into the “Visual Information (VI)
             Work Order System” related to wallet-size, laminated instruction cards for CAEv2
             from 2000 to 2005.

      5.     Communications related to information input into the “Visual Information (VI)
             Work Order System” related to wallet-size, laminated instruction cards for CAEv2
             from 2000 to 2005.

      6.     Documents and drafts of wallet-size, laminated instruction cards for CAEv2
             produced from the “Visual Information (VI) Work Order System” from 2000 to
             2005.

      C.     Documents Regarding Complaints Or Recalls Related To CAEv2.

      1.     Feedback and complaints relating to the CAEv2 provided by service member users.

      2.     Feedback and complaints relating to the CAEv2 provided by military audiologists
             and medically trained personnel.

      3.     Feedback and complaints relating to CAEv2 provided by service member uses to
             military audiologists.

      4.     Product recalls and accident or injury documentation related to CAEv2 from
             January, 1998 to December, 2015.
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      D.     Communications With Dr. Douglas Ohlin And Other Government
             Representatives Regarding CAEv2.

      1.     Communications relating to the CAEv2 that are to, from, copying, or involving Dr.
             Douglas Ohlin, Lieutenant Colonel Eric Fallon, Lieutenant Colonel Marjorie
             Grantham, Lieutenant Colonel Martin Robinette, Lieutenant Colonel John
             Merkley, Colonel Kathy Gates, and Brian Hobbs from 1996 forward. 3M requests
             that the following search terms be used to search these communications: “CAE”
             OR “CAEP” OR “Combat Arms” OR “CAEv2” OR “CEP” OR “Aearo” OR
             “Aero” OR “3M” OR “Berger” OR “wallet card” OR flange OR “NRR” OR “ISL”
             OR “Institut Saint- Louis” OR “Moldex” OR “battleplug” OR “hear-through” OR
             “pass-through” “level-dependent” OR “amplitude-sensitive” OR “CAEP” OR
             “double-ended” OR “double-sided” OR “imperceptible” OR “imperceptibly” OR
             “slippage” OR “carrying case” OR “prototype” OR “production sample” OR “cut
             down the stem” OR “one-quarter inch” OR “1/4 inch” OR “wallet card.” To the
             best of 3M’s knowledge, Dr. Ohlin’s and the other government representatives’
             email addresses during this time frame were: doug.ohlin@us.army.mil;
             Douglas.Ohlin@,APG.AMEDD,ARMY.MIL;
             Douglas.Ohlin@AMEDD.ARMY.MIL; mariorie.grantham@us.army.mil; marj
             orie.grantham@arl.army.mil;                   mariorie.a.grantham.mil@mail.mil;
             martin.robinette@us.army.mil;                   martin.b.robinette.mil@mail.mil;
             iohn.a.merklev.mil@mail.mil;                             iohn.merklev@us.af.mil;
             John.Merkley@us.army.mil;                John.Merklev2@AMEDD.ARMY.MIL;
             Kathy.Gates@us.army.mil;                              kathy.e.gates.ctr@mail.mil;
             brian.hobbs@med.navv.mil; eric.fallon@us.armv.mil; Eric.Fallon@med.navy.mil.



      E.     Documents Regarding CAEv2 Testing.

      1.     CAEv2 test results (excluding test results that are publicly available) provided to
             the Army, Navy, Marine Corps, Coast Guard, Air Force, Defense Logistics Agency,
             and Department of Defense from testing laboratories internal to the DoD:

             a.      CAEv2 attenuation testing for continuous and impulsive noise (on either
                     end of the earplug) performed according to any of the following standards:
                     ANSI/ASA S3.19-1974, ANSI/ASA S12.6-1997, ANSI/ASA S12.6-2008,
                     ANSI/ASA S12.6-2016, ANSI/ASA S12.42-1995, ANSI/ASA S12.42-
                     2010, and MIL-STD-912;
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             b.      CAEv2 test results from Army Research Laboratory, Aberdeen Proving
                     Ground, Maryland;

             c.      CAEv2 test results from U.S. Army Aeromedical Research Laboratory, Ft.
                     Rucker, Alabama;

             d.      CAEv2 test results from Air Force Research Laboratory, Wright-Patterson
                     Air Force Base, Ohio;

             e.      CAEv2 test results from Naval Air Systems Command, Patuxent River,
                     Maryland;

             f.      CAEv2 test results from White Sands Missile Range, New Mexico;

             g.      CAEv2 test results publications, or research authored or presented by any
                     of the following individuals: Dr. Lorraine Babeu, Dr. Kathy Gates, Dr.
                     Nancy Vause, Dr. Richard Price, Dr. Joel Kalb, Dr. P. Fedel, Dr. Georges
                     Garinther, Dr. Tomas R. Letowski, Richard McKinley, Dr. Doug Ohlin
                     (deceased), Dr. William Ahroon, Dr. Douglas Brungart, Dr. Eric Fallon,
                     Douglas Moses, and/or Elliott Berger.

      2.     Data and protocols relating to any of the above-listed tests, including if the test
             results are publicly available but the data and protocols are not publicly available.

      3.     CAEv2 test results (excluding test results that are publicly available) provided to
             the Army, Navy, Marine Corps, Coast Guard, Air Force, Defense Logistics Agency,
             and Department of Defense from testing laboratories external to the DoD:

             a.      CAEv2 attenuation testing for continuous and/or impulsive noise (on
                     either end of the earplug) performed according to any of the
                     following standards: ANSI/ASA S3.19-1974, ANSI/ASA S12.6-
                     1997,ANSI/ASA S12.6-2008, ANSI/ASA S12.6-2016, ANSI/ASA
                     S12.42-1995, ANSI/ASA S12.42-2010, and MIL-STD-912;

             b.      CAEv2 test results from NIOSH; and

             c.      CAEv2 test results from A.L. Dancer or P.J.F. Hamery of French-
                     German Research Institut of Saint-Louis.

      4.     Data and protocols relating to any of the above-listed tests, including if the test
             results are publicly available but the data and protocols are not publicly available.
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       F.     Policies And Procedures Regarding Earplug Fit For Service Members.

       1.     Policies and procedures relating to compliance with ST 4-02.501 (Feb. 1 2008),
              Army Hearing Program, § 4-54, that medically trained personnel must fit service
              members with triple-flanged earplugs to ensure a proper fit.

       2.     Policies and procedures relating to compliance with Department of the Army
              Pamphlet 40-501, Hearing Conservation, that medically trained personnel must fit
              service members with triple-flanged earplugs to ensure a proper fit.

       3.     Policies and procedures relating to compliance with DoD Instruction 6055.12 (Dec.
              3, 2010), DoD Hearing Conservation Program, Enclosure 3, § 7(i), that medically
              trained personnel must fit service members with preformed earplugs to ensure a
              proper fit.

       4.     Policies and procedures relating to compliance with TM6260.51.99-2 (Sept. 15,
              2008), Navy Hearing Conservation Program Procedures, § C1.4.1, that medically
              trained personnel must fit service members with preformed earplugs to ensure a
              proper fit.

       5.     Policies, procedures, and instructions given to military audiologists regarding
              proper fit, use, and care

IV.    SUMMARY AND RELEVANCE OF THE DE-PRIORITIZED DOCUMENTS
       REQUESTED

         Defendants’ specific de-prioritized document requests are contained in Section V, below.
In short, Defendants request documents regarding: (a) the military’s purchase and distribution of
CAEv2; (b) noise and ototoxin exposure in the military; and (c) hearing protection usage in the
military. These documents are relevant to the claims and defenses in the above-referenced
litigation for numerous reasons, including the following.

         Documents regarding purchasing and distribution data. First, documents regarding
purchasing and distribution data will help identify which Plaintiffs may have used CAEv2, which
is a threshold issue for any claim. Second, these documents will help determine when a particular
Plaintiff used CAEv2 and are thus relevant to whether any claims are barred by the applicable
statute of limitations. Third, these documents may show whether and to what extent CAEv2 was
distributed in combat zones, which is relevant to Defendants’ “combatant activities” defense.
Although Congress waived sovereign immunity for tort claims against the United States and those
acting on its behalf in the Federal Tort Claims Act, it excluded “claims arising out of combatant
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activities of the military or armed forces, or the Coast Guard, during time of war.” 28 U.S.C. §
2680(j). This “combatant activities” exception has been applied to contractors like Defendants to
create a federal defense shielding manufacturers from tort claims arising from war. 3 Fourth, these
documents will show that CAEv2 was distributed at least in part at military bases, which is relevant
to the Court’s subject matter jurisdiction under the “federal enclave” doctrine. In particular,
“[f]ederal courts have federal question jurisdiction over tort claims that arise on ‘federal
enclaves,’” such as military bases, Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1250 (9th
Cir. 2006), and Defendants have removed certain cases from state court to federal court in part on
that basis. 4

        Documents regarding noise and ototoxin exposure in the military. First, documents
regarding noise exposure data—such as noise dosimetry and sound level data—will show that
Plaintiffs were exposed to a wide variety of potentially dangerous noises or ototoxins unrelated to
their use of CAEv2, which will undermine Plaintiffs’ allegation that CAEv2 caused their alleged
injuries. Second, these documents may show that individual Plaintiffs violated military hearing
protection recommendations by performing dangerous activities with no or insufficient hearing
protection, which would also undermine any assertion that CAEv2 caused their alleged injuries.
Third, these documents may also support Defendants’ “combatant activities” defense by showing
that service members were required to wear CAEv2 in combat situations. Fourth, these documents
are also relevant to the Court’s subject matter jurisdiction under the federal officer removal statue,
which requires a showing that Defendants have “colorable” defenses under federal law.

       Documents regarding (actual) hearing protection usage in the military. These
documents are relevant to the issue of whether or not service members typically use recommended
or required hearing protection—including both in training and in combat settings—which is
relevant to, among other things, Plaintiffs’ assertions that CAEv2 caused their alleged injuries.

V.          DE-PRIORITIZED DOCUMENT REQUESTS FOR AFFIRMATIVE DEFENSES.

      Pursuant to United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951), Case Management
Order No. 6 in MDL No. 2885, and the above- referenced statutes, directives and instructions,

3
    See, e.g., Saleh v. Titan Corp., 580 F.3d 1, 6 (D.C. Cir. 2009) (applying § 2680(j) exception to tort claims arising
       from treatment of inmates in military prison in Iraq brought against private contractor); Bentzlin v. Hughes
       Aircraft Co., 833 F. Supp. 1486, 1492 (C.D. Cal. 1993) (“The combatant activities exception generates a federal
       common law defense which immunizes manufacturers such as Hughes from state tort suits arising from war.”).
4
    See Jamil v. Workforce Resources, LLC, 2018 WL 2298119 (C.D. Cal. May 21, 2918) (“Camp Pendleton is a federal
       enclave”); see also Haining v. Boeing Co., 2013 WL 4874975, at *2 (C.D. Cal. Sept. 11, 2013) (concluding
       Vandenberg AFB is a federal enclave).
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Defendants request the following de-prioritized documents from the DoD, DLA, Army, Navy,
Marine Corps, Air Force, and Coast Guard.

      A.     Documents Regarding Purchasing And Distribution Of CAEv2.

      1.     Documents sufficient to show: (i) the number of CAEv2 earplugs purchased by the
             United States; (ii) the dates on which CAEv2 earplugs were purchased by the
             United States, and the number purchased on each such date; (iii) the number of
             CAEv2 earplugs purchased for the (a) Army, (b) Navy, (c) Marine Corps, (d) Air
             Force, and (e) Coast Guard; and (iv) the identity of the distributor who made each
             sale of CAEv2 earplugs to the United States on each date.

      2.     Documents sufficient to show: (i) the specific locations to which CAEv2 earplugs
             were distributed, including the number distributed to each; (ii) if applicable, the
             military unit (e.g., division, brigade, battalion/battery, regiment, fleet, squadron,
             company, etc.) to which CAEv2 earplugs were distributed, including the number
             distributed to each; (iii) if applicable, the bases to which CAEv2 earplugs were
             distributed, including the number distributed to each base; and (iv) if applicable,
             the audiology or public health program directors to whom CAEv2 were distributed,
             including the number distributed to each.

      B.     Documents Regarding Noise And Ototoxin Exposure In The Military.

      1.     Noise dosimetry data or other documents regarding the amount of noise service
             members are exposed to in particular specialties, in particular situations, or when
             operating particular weapons.

      2.     Sound level data and recommendations for hearing protection in particular
             situations or when operating particular weapons, such as those documented on DD
             Form 2214.

      3.     Documents that contain recommendations and/or guidelines for specific hearing
             protectors to be worn when using specific weapons or when encountering other
             noise exposures.

      4.     Documents regarding military noise exposures or hearing protection
             recommendations or guidelines authored by the following individuals, excluding
             documents that are publicly available: Dr. Richard Price, Dr. Joel Kalb, Dr. P.
             Fedele, Dr. Georges Garinther, Dr. Tomas R. Letowski, Richard McKinley, Dr.
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              Lorraine Babeu, Dr. Doug Ohlin (deceased), Dr. William Ahroon, Dr. Douglas
              Brungart, and Dr. Eric Fallon.

       5.     Research by Dr. Richard Price and/or Dr. Joel Kalb of the Army Research
              Laboratory that has used the Auditory Hazard Assessment Algorithm for Humans
              (“AHAAH”) model in connection with nonlinear earplugs, including the CAEv2,
              excluding documents that are publicly available.

       6.     Studies or policies relating to the prevention of service member exposure to the
              following ototoxins: toluene, xylene, n-hexane, organic tin, carbon disulfide,
              mercury, organic lead, hydrogen cyanide, diesel fuel, kerosene fuel, jet fuel,
              organophosphate pesticides, and nerve agents, excluding documents that are
              publicly available.

       7.     Internal research and results relating to the Noise Outcomes in Service Member
              Epidemiology (“NOISE”) Study.

       8.     Policies and procedures regarding effective quiet areas (e.g., effective quiet areas
              on a U.S. Navy aircraft carrier) designed to expose service members to lower levels
              of noises, excluding documents that are publicly available. See also ST 4-02.501,
              Army Hearing Program, Section 4-18 (Feb. 1 2008) (“The most effective
              administrative control is to provide quiet areas where Soldiers can gain relief from
              workplace noise. Areas used for breaks and dining facilities should be located away
              from noise. If these areas must be near noise, they should have noise barriers
              appropriately     placed      to    minimize     background      noise     levels.”);
              https://www.ncbi.nlm.nih.gov/pubmed/30943127 (abstract of article entitled
              “Noise characterization of ‘effective quiet’ areas on a U.S. Navy aircraft carrier”).

       C.     Documents Regarding Hearing Protection Usage In The Military.

       1.     Studies regarding the actual (as opposed to suggested or required) usage of hearing
              protection (including, but not limited to, CAEv2) by service members in training or
              combat from 2000 to the present.

VI.    ADDITIONAL CONSIDERATIONS

        These requests comply with the policies of the DoD, DLA, Army, Navy, Marine Corps,
Air Force, and Coast Guard regarding the provision of information by its employees in connection
with litigation in federal court:
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       1.     Disclosure of the requested information is not unduly burdensome or otherwise
              inappropriate under the federal discovery rules.

       2.     Disclosure of the requested information would be appropriate under the Federal
              Rules of Evidence and appropriate under the rules of the Northern District of Florida.

       3.     Disclosure of the requested information would be appropriate under the Federal
              Rules of Civil Procedure and would not impact any concerns regarding privileged
              information pursuant to the rules of procedure governing this litigation.

       4.     Disclosure of the requested information would not violate any statute, executive
              order, regulation, or directive.

       5.     Disclosure of the requested information would not reveal any classified information,
              data restricted pursuant to AR 380-5, unclassified technical data withheld from
              public release pursuant to 32 C.F.R. § 250 or DoD Directive 5230.25, privileged
              safety information restricted from public release by DoD Directive 6055.7, AFI 31-
              401, or other matters exempt from unrestricted disclosure.

       6.     Disclosure of the requested information would not interfere with ongoing
              enforcement proceedings, compromise any constitutional rights, reveal the identity
              of an intelligence source or confidential informant, disclose trade secrets or similarly
              confidential commercial or financial information, or otherwise be inappropriate
              under the circumstances.

       7.     Disclosure would not violate any person’s expectation of confidentiality or privacy.

       8.     The United States is not, and is not reasonably anticipated to be, a party in this
              litigation.

See 32 C.F.R. §§ 97.6(b)(1)-(6); 32 C.F.R. §§ 516.41(d), 516.44; Navy Instruction 5280.8A(1)-
(10); Department of Defense Directive 5405.2 § 6.2; 33 C.F.R. § 1.20-1; 6 C.F.R. § 5.45; Air Force
Instruction 51-301, 9.5.1-9.5.6.

VII.   ADMINISTRATIVE MATTERS

         Defendants will bear the costs of duplicating and producing the documents sought by this
Touhy request. Costs will be paid by check or money order payable to the Treasury of the United
States. For ease of production, all electronically stored information can be produced via a secure
file transfer protocol site that will be provided free of charge or via electronic storage media that
will be provided to you at no charge and upon your request. Any requests for assistance with the
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Major Collin Evans
December 2, 2019
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transmittal of electronically stored documents, or coordination of the inspection of documents
should be made to Mark Nomellini, counsel for Defendants, at (312) 862-2410 or
mnomellini@kirkland.com. Additionally, to the extent the DoD, DLA, Army, Navy,
Marine Corps, Air Force, or Coast Guard believe any of the requested information does not
implicate the statutory considerations set forth above, Defendants are willing to work with
the DoD, DLA, Army, Navy, Marine Corps, Air Force, or Coast Guard to narrow the scope of
the request.

       If you anticipate that full production will require more than one hundred twenty (120) days
from the date of service, we request that you notify Defendants and/or the Court. Should you have
any questions or require additional information about this Touhy request, please do not hesitate to
contact me. Thank you for your assistance.



                                            Sincerely,


                                            /s/ Mark J. Nomellini

                                            Mark J. Nomellini




 cc:      Michael J. Fucci
          Associate General Counsel
          Department of Defense
          Michael.j.fucci.civ@mail.mil
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                     EXHIBIT 4
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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654
             Mark J. Nomellini                                        United States
           To Call Writer Directly:                                                                                                  Facsimile:
             +1 312 862 2410                                         +1 312 862 2000                                              +1 312 862 2200
          mnomellini@kirkland.com
                                                                    www.kirkland.com




                                                                   March 17, 2020

           Via Email

           Major Collin Evans
           Litigation Attorney, General Litigation Branch
           U.S. Army Legal Services Agency
           9275 Gunston Road
           Ft. Belvoir, VA 22060
           collin.p.evans2.mil@mail.mil
           703-693-0352


                               Re: Supplemental Touhy Request Relating to In re: 3M Combat Arms Earplug
                                      Products Liability Litigation, 3:19-md-02885-MCR-GRJ (N.D. Fla.)

          Dear Major Evans:

                   In connection with In re: 3M Combat Arms Earplug Products Liability Litigation—a
          multidistrict litigation pending before Judge Rodgers in the Northern District of Florida—this
          letter constitutes Defendants 3M Company (“3M”) and Aearo Technologies LLC’s (“Aearo”)
          supplemental Touhy request to the United States Department of Defense (“DoD”), Army, Navy,
          Marine Corps, Air Force, and Coast Guard for certain documents related to Military Audiology
          Short Course meetings held while the Combat Arms Earplugs Version 2 were in use.

          I.        SUMMARY OF THE LITIGATION

                   3M was founded in 1902 as a small-scale mining venture in Northern Minnesota, and has
          grown into a global science company employing over 90,000 people. 3M produces more than
          60,000 products world-wide. Many of 3M’s brands have become universally known, including
          Scotch™ Brand adhesive tapes, Post-it® Brand sticky notes, and Thinsulate™ thermal
          insulation, to name just a few. In addition to its consumer-side business, 3M also has a long-
          standing relationship with the federal government and provides thousands of products designed
          to protect American troops and support their missions. In 2008, 3M purchased Aearo, who, at
          the time, was a global leader in personal protection equipment, headquartered in Indianapolis,
          Indiana. The acquisition helped 3M expand its occupational health and environmental safety
          platform by adding hearing protection, eyewear protection, and fall protection to its product
          lines, including Combat Arms Earplugs—the subject of this litigation.


Beijing    Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   Paris   San Francisco    Shanghai   Washington, D.C.
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       Hearing loss is a common injury among military veterans. The U.S. military has
provided hearing protection and preservation services to soldiers for decades. In support of that
mission, the military employs audiologists to administer hearing conservation programs and
work with outside contractors, like 3M, to advance their hearing protection goals.

        The complaints in this MDL assert claims for alleged hearing loss or tinnitus allegedly
caused by noise exposure while wearing the Combat Arms Earplugs Version 2. CAEv2 was
developed and designed by Aearo at the request of and in close consultation with U.S. military
audiologists, including Dr. Doug Ohlin, former Program Manager, Hearing Conservation, U.S.
Army Center for Health Promotion and Preventative Medicine. Specifically, the U.S. military
and Aearo decided to modify and update Aearo’s Ultrafit® triple-flanged earplug by including a
specially patented filter created by the French-German Institute in Saint Louis, France (“ISL”).
Thereafter, Aearo worked with the U.S. military and ISL to develop an earplug embodying ISL’s
patented technology, which ultimately became CAEv2.

        CAEv2 is a “dual ended” earplug that consists of two Ultra-fit type tips, one green and
one yellow, attached to opposite sides of a plastic stem with a small opening at the center. The
green end works like a conventional passive earplug, providing steady attenuation of ambient
noise. In contrast, the yellow end is nonlinear and attenuates different sounds differently. In
particular, sound travels into the opening at the center of the earplug and through a sound
channel and the patented ISL filter before entering the ear. The filter allows lower-level sounds,
such as speech, to pass through with minimal attenuation, but provides increased attenuation for
higher-level impulse noises, like gun-fire. This enables the user to experience enhanced situation
awareness while receiving some protection from unexpected impulse noise.

        Servicemember plaintiffs in this litigation allege that the CAEv2 was defective and caused
them to sustain serious injuries during their military service, including hearing damage. In
particular, Plaintiffs allege they were not aware of the need to roll back the flanges of the opposing
end of the CAEv2 to obtain an adequate fit because Defendants concealed this issue from the
military. Defendants argue that plaintiffs’ claims are barred by the government contractor defense,
which preempts state tort claims “when (1) the United States approved reasonably precise
specifications; (2) the equipment conformed to those specifications; and (3) the supplier warned
the United States about the dangers in the use of the equipment that were known to the supplier
but not to the United States.” Boyle v. United Techs. Corp., 487 U.S. 500, 512 (1988). The
military’s knowledge of the alleged need to roll back the flanges is therefore critical to Defendants’
government contractor defense.

II.    SUMMARY AND RELEVANCE OF THE DOCUMENTS REQUESTED
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Maj. Collin Evans
March 17, 2020
Page 3


        Documents Related To Annual Military Audiology Association Short Course
Meetings From 2001 to 2005. Defendants request documents, communications, and
presentations related to the annual meetings of the Military Audiology Association from 1999 to
2005. Such documents are highly relevant to Defendants’ government contractor defense because
such documents speak to, among other things, military knowledge with respect to whether and
when to roll back the flanges of CAEv2 to improve fit. For example, LTC John Merkley testified
during his February 27, 2020 deposition that Dr. Doug Ohlin had discussions regarding the CAEv2
with “most of the Army audiologists” at the “military audiology short course” conferences
Merkley attended between 2001 and 2005. Merkley Dep. Tr. at 105:14-107:2. Merkley testified
that, during these meetings, Dr. Ohlin informed Army audiologists that some users might find it
beneficial to roll back the opposing flanges of the CAEv2 in order to obtain a better fit. Id. at 98:4-
99:2. Materials related to the annual Short Course meetings may include Dr. Ohlin’s advice
regarding rolling back the flanges, or other information conveyed to audiologists regarding the
CAEv2, which would demonstrate the military’s knowledge of the product’s capabilities and
limitations. Although LTC Merkley discussed the conferences he attended between 2001-2005 in
particular, Defendants request materials related to the broader 1999-2005 time period because Dr.
Ohlin likely would have given similar talks in the years prior to Merkley becoming an Army
audiologist.

        Documents Identified In Army Pamphlet 40-501 Regarding Service Member Noise
Exposure. Defendants request documents related to the noise surveys, identification of noise-
hazardous areas, and identification of noise-exposed and ototoxin-exposed personnel, which are
performed and maintained by the Industrial Hygiene Program Managers for each Army installation
per Army Pamphlet 40-501. In particular, Army Pamphlet 40-501 requires the Industrial Hygiene
Program Manager at every Army installation to, among other things, (i) survey all known and
suspected noise-hazardous areas and equipment and ototoxic exposures, (ii) maintain a current
inventory of all noise-hazardous areas, (iii) compile the names and social security numbers of
noise-exposed and ototoxic-exposed personnel and the magnitude of their noise exposure, and (iv)
track noise exposure violations for inclusion on a violation inventory log. (DA PAM 40-501 at 1-
4.) Similarly, Army Pamphlet 40-501 requires the Hearing Conservation Officers to, among other
things, (i) notify noise-exposed and ototoxic-exposed personnel under their supervision of their
exposures, and (ii) ensure that noise-exposed and ototoxic-exposed personnel wear noise and
ototoxic chemical dosimeters when requested. (Id.) Documents regarding each of these activities
are relevant to determining the cause of any hearing loss or tinnitus alleged by the Plaintiffs, and
will be necessary for Defendant’s to adequately prepare these cases for trial.

        Documents Identified In Army Pamphlet 40-501 Regarding Service Member
Complaints Regarding Combat Arms Version 2. Defendants request documents related to any
service member complaints regarding Combat Arms Earplugs version 2. Army Pamphlet 40-501
requires the Hearing Conservation Officers to, among other things, refer any personnel under their
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Maj. Collin Evans
March 17, 2020
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supervision to the military treatment facility for any complaints associated with wearing hearing
protectors. (DA PAM 40-501 at 1-4) Documents memorializing any service member complaints
regarding the CAEv2 are relevant to Plaintiffs’ assertions that the CAEv2 is defective and does
not provide adequate attenuation.

III.   ADMINISTRATIVE MATTERS

        Defendants will bear the costs of duplicating and producing the documents sought by this
Touhy request. Costs will be paid by check or money order payable to the Treasury of the United
States. Any requests for assistance with the transmittal of electronically stored documents, or
coordination of the inspection of documents should be made to Mark Nomellini, counsel for
Defendants, at (312) 862-2410 or mnomellini@kirkland.com. Defendants are willing to work with
any Federal agencies implicated in this request in order to properly narrow or tailor the scope of
this and any future request. If you should require additional information as to the relevancy of any
document listed in this request, we would be happy to provide it at your convenience.

       Should you have any questions or require any additional information concerning this
request, please do not hesitate to contact me. Thank you for your assistance.



                                                     Sincerely,

                                                     /s/ Mark J. Nomellini

                                                     Mark J. Nomellini


 cc:     Major Nicole Kim
         Judge Advocate, U.S. Army
         Litigation Attorney
         nicole.m.kim2.mil@mail.mil

         Jacqueline Snead
         Federal Programs Branch
         Department of Justice
         jacqueline.snead@usdoj.gov
Case 3:19-md-02885-MCR-HTC Document 1433-4 Filed 10/02/20 Page 59 of 77




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From: Evans, Collin P MAJ USARMY HQDA OTJAG (USA) <collin.p.evans2.mil@mail.mil>
Sent: Wednesday, May 20, 2020 2:39 PM
To: Wasdin, Nick <nick.wasdin@kirkland.com>; Snead, Jacqueline Coleman (CIV) <Jacqueline.Snead@usdoj.gov>; Kim,
Nicole M MAJ USARMY HQDA OTJAG (USA) <nicole.m.kim2.mil@mail.mil>
Cc: Nomellini, Mark J. <mnomellini@kirkland.com>
Subject: RE: [Non-DoD Source] RE: 3M CAE Litigation
Nick- I’m referring to the portions of those paragraphs that use words like “operating particular weapons systems” or “specific weapons”. For those paragraphs that include those words, are the requests being narrowed to just the weapons y




Nick-

I’m referring to the portions of those paragraphs that use words like “operating particular weapons systems” or
“specific weapons”. For those paragraphs that include those words, are the requests being narrowed to just the
weapons you listed in your email?

V/r

Major Collin P. Evans
Litigation Attorney
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U.S. Army Legal Services Agency
9275 Gunston Road
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Mobile: 571-234-3843
Email: Collin.p.evans2.mil@mail.mil

From: Wasdin, Nick <nick.wasdin@kirkland.com>
Sent: Wednesday, May 20, 2020 11:52 AM
To: Evans, Collin P MAJ USARMY HQDA OTJAG (USA) <collin.p.evans2.mil@mail.mil>; Snead, Jacqueline Coleman (CIV)
<Jacqueline.Snead@usdoj.gov>; Kim, Nicole M MAJ USARMY HQDA OTJAG (USA) <nicole.m.kim2.mil@mail.mil>
Cc: Nomellini, Mark J. <mnomellini@kirkland.com>
Subject: RE: [Non-DoD Source] RE: 3M CAE Litigation

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authenticity of all links contained within the message prior to copying and pasting the address to a Web
browser.




I did not understand that providing this information would narrow our requests. We are still seeking other
documents/data regarding the amount of noise service members are exposed to in particular specialties or situations.

For example, it was our understanding that, per 40-501, the Industrial Hygiene Program Manager at every Army
installation was required to, among other things, (i) survey all known and suspected noise-hazardous areas and
equipment and ototoxic exposures, (ii) maintain a current inventory of all noise-hazardous areas, (iii) compile the names
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equipment and ototoxic exposures, (ii) maintain a current inventory of all noise-hazardous areas, (iii) compile the names
and social security numbers of noise-exposed and ototoxic-exposed personnel and the magnitude of their noise
exposure, and (iv) track noise exposure violations for inclusion on a violation inventory log. (DA PAM 40-501 at 1-
4.) Similarly, 40-501 requires Hearing Conservation Officers to, among other things, (i) notify noise-exposed and
ototoxic-exposed personnel under their supervision of their exposures, and (ii) ensure that noise-exposed and ototoxic-
exposed personnel wear noise and ototoxic chemical dosimeters when requested. (Id.)

If those or other data/documents regarding noise exposures exist, we are still requesting them. That said, I understood
from our last call that you had looked into those types of records and determined that they do not exist, and that the
only noise-exposure type records that do exist are the health hazard assessments, but let me know if that’s incorrect.

Thanks again,

Nick

Nicholas F. Wasdin
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-----------------------------------------------------
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From: Evans, Collin P MAJ USARMY HQDA OTJAG (USA) <collin.p.evans2.mil@mail.mil>
Sent: Wednesday, May 20, 2020 9:17 AM
To: Wasdin, Nick <nick.wasdin@kirkland.com>; Snead, Jacqueline Coleman (CIV) <Jacqueline.Snead@usdoj.gov>; Kim,
Nicole M MAJ USARMY HQDA OTJAG (USA) <nicole.m.kim2.mil@mail.mil>
Cc: Nomellini, Mark J. <mnomellini@kirkland.com>
Subject: RE: [Non-DoD Source] RE: 3M CAE Litigation

Thanks Nick. I will send these to the HHA folks to see if they can pull this information. Am I correct that this narrows
paragraphs (I)(1) and (I)(2) of your July 26, 2019 request, and (b)(1) and (b)(2) of your December 2, 2019 request?

Major Collin P. Evans
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From: Wasdin, Nick <nick.wasdin@kirkland.com < Caution-mailto:nick.wasdin@kirkland.com > >
Sent: Wednesday, May 20, 2020 9:34 AM
To: Evans, Collin P MAJ USARMY HQDA OTJAG (USA) <collin.p.evans2.mil@mail.mil < Caution-
mailto:collin.p.evans2.mil@mail.mil > >; Snead, Jacqueline Coleman (CIV) <Jacqueline.Snead@usdoj.gov < Caution-
mailto:Jacqueline.Snead@usdoj.gov > >; Kim, Nicole M MAJ USARMY HQDA OTJAG (USA)
<nicole.m.kim2.mil@mail.mil < Caution-mailto:nicole.m.kim2.mil@mail.mil > >
Cc: Nomellini, Mark J. <mnomellini@kirkland.com < Caution-mailto:mnomellini@kirkland.com > >
Subject: RE: [Non-DoD Source] RE: 3M CAE Litigation




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authenticity of all links contained within the message prior to copying and pasting the address to a Web
browser.




Thanks, Collin.

Separately, our last call, you asked us to pass along a list of weapons used by the bellwether plaintiffs to help prioritize
production of the health hazard assessments associated therewith. That list is below. I apologize in advance that some
of these are generic (e.g., “grenades”); it’s the best list we could compile based on the information provided by the
plaintiffs to date.

Thanks as always,

Nick

    •       .50 Cal Machine Gun
    •       120 MM Cannon
    •       25 MM
    •       50 Cal
    •       60 MM
    •       81 MM
    •       AT4
    •       Beretta M9
    •       Browning M2
    •       Carl Gustove Rocket Launcher
    •       Claymore M18
    •       Firing pistols
    •       Grenades
    •       Javalin Rocket Launcher
    •       Law Rocket Launcher
    •       M1 A2
    •       M109 Howitzer
    •       M119 Howitzer
    •       M14
    •       M16
    •       M16 A2
    •       M16 A4
    •       M16/203
    •       M19
    •       M2
    •       M2 40B
    •       M2 50 CAL
    •       M-203
    •       M223
    •       M240
    •       M243
    •       M249
    •       M256
    •       M29
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      •          M4
      •          M4 A2
      •          M4 Carbine
      •          M9
      •          MK19
      •          Shotgun
      •          Smaw-D Rocket Launcher
      •          Striker tank, 60 mm and 120 mm mortars
      •          Tank Artillery

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From: Evans, Collin P MAJ USARMY HQDA OTJAG (USA) <collin.p.evans2.mil@mail.mil < Caution-
mailto:collin.p.evans2.mil@mail.mil > >
Sent: Wednesday, May 20, 2020 8:17 AM
To: Wasdin, Nick <nick.wasdin@kirkland.com < Caution-mailto:nick.wasdin@kirkland.com > >; Snead, Jacqueline
Coleman (CIV) <Jacqueline.Snead@usdoj.gov < Caution-mailto:Jacqueline.Snead@usdoj.gov > >; Kim, Nicole M MAJ
USARMY HQDA OTJAG (USA) <nicole.m.kim2.mil@mail.mil < Caution-mailto:nicole.m.kim2.mil@mail.mil > >
Cc: Nomellini, Mark J. <mnomellini@kirkland.com < Caution-mailto:mnomellini@kirkland.com > >
Subject: RE: [Non-DoD Source] RE: 3M CAE Litigation

Nick-

Yes, I can provide you the letter by COB Friday.

V/r

Major Collin P. Evans
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mailto:nick.wasdin@kirkland.com %3c Caution-Caution-mailto:nick.wasdin@kirkland.com > > >
Sent: Tuesday, May 19, 2020 5:52 PM
To: Snead, Jacqueline Coleman (CIV) <Jacqueline.Snead@usdoj.gov < Caution-Caution-
mailto:Jacqueline.Snead@usdoj.gov < Caution-mailto:Jacqueline.Snead@usdoj.gov %3c Caution-Caution-
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<collin.p.evans2.mil@mail.mil < Caution-Caution-mailto:collin.p.evans2.mil@mail.mil < Caution-
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mailto:nicole.m.kim2.mil@mail.mil > > >
Cc: Nomellini, Mark J. <mnomellini@kirkland.com < Caution-Caution-mailto:mnomellini@kirkland.com < Caution-
mailto:mnomellini@kirkland.com %3c Caution-Caution-mailto:mnomellini@kirkland.com > > >
Subject: [Non-DoD Source] RE: 3M CAE Litigation

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authenticity of all links contained within the message prior to copying and pasting the address to a Web
browser.




Thanks, Jacqui. Given our timing concerns, is the government able to provide the letters by the end of the week?

Best,

Nick

Nicholas F. Wasdin
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KIRKLAND & ELLIS LLP
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Caution-mailto:nick.wasdin@kirkland.com >


From: Snead, Jacqueline Coleman (CIV) <Jacqueline.Snead@usdoj.gov < Caution-Caution-
mailto:Jacqueline.Snead@usdoj.gov < Caution-mailto:Jacqueline.Snead@usdoj.gov %3c Caution-Caution-
mailto:Jacqueline.Snead@usdoj.gov > > >
Sent: Tuesday, May 19, 2020 4:49 PM
To: Wasdin, Nick <nick.wasdin@kirkland.com < Caution-Caution-mailto:nick.wasdin@kirkland.com < Caution-
mailto:nick.wasdin@kirkland.com %3c Caution-Caution-mailto:nick.wasdin@kirkland.com > > >; Evans, Collin P MAJ
USARMY HQDA OTJAG (USA) <collin.p.evans2.mil@mail.mil < Caution-Caution-
mailto:collin.p.evans2.mil@mail.mil < Caution-mailto:collin.p.evans2.mil@mail.mil %3c Caution-Caution-
mailto:collin.p.evans2.mil@mail.mil > > >; Kim, Nicole M MAJ USARMY HQDA OTJAG (USA)
<nicole.m.kim2.mil@mail.mil < Caution-Caution-mailto:nicole.m.kim2.mil@mail.mil < Caution-
mailto:nicole.m.kim2.mil@mail.mil %3c Caution-Caution-mailto:nicole.m.kim2.mil@mail.mil > > >
Cc: Nomellini, Mark J. <mnomellini@kirkland.com < Caution-Caution-mailto:mnomellini@kirkland.com < Caution-
mailto:mnomellini@kirkland.com %3c Caution-Caution-mailto:mnomellini@kirkland.com > > >
Subject: RE: 3M CAE Litigation

Hi Nick:

We are working on letters and would prefer that they serve as the government’s response to your request for an
update. As for your prospective expert witness, he/she may want to contact the Office of Government Ethics or OGC
of the former agency employer to discuss the engagement and find out what statutory constraints are applicable.

Thanks.

Jacqui

From: Wasdin, Nick <nick.wasdin@kirkland.com < Caution-Caution-Caution-
mailto:nick.wasdin@kirkland.com < Caution-Caution-mailto:nick.wasdin@kirkland.com %3c Caution-Caution-Caution-
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Sent: Tuesday, May 19, 2020 1:19 PM
To: Snead, Jacqueline Coleman (CIV) <jsnead@CIV.USDOJ.GOV < Caution-Caution-Caution-
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Subject: RE: 3M CAE Litigation

Jacqui,

Following up on the below, is there a time this week that would work for a call?

Best,

Nick

Nicholas F. Wasdin
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Subject: RE: 3M CAE Litigation

Thanks, Jacqui.

We have a number of deadlines in the litigation coming up over the next few weeks, and it would be very helpful to get
a preview of the documents and depositions that will be coming. It would also be helpful for us to further discuss with
you the statutory constraints that might be implicated by former government experts. And so if you have any time over
the next few days, we think a call could still be beneficial.

Nick

Nicholas F. Wasdin
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Subject: RE: 3M CAE Litigation


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Good morning:

We have decided to prepare written supplemental Touhy responses to the open Touhy requests this month that
should obviate the need for the telephone update that you have requested. As for your former government
employee expert, if he or she intends to use official information then authorization of the agency is required, and you
would need to submit a request to the agency. There are also statutory constraints on former government employee
experts that might be implicated.

Thanks.

Jacqui

From: Wasdin, Nick <nick.wasdin@kirkland.com < Caution-Caution-Caution-
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Sent: Wednesday, May 13, 2020 6:49 PM
To: Snead, Jacqueline Coleman (CIV) <jsnead@CIV.USDOJ.GOV < Caution-Caution-Caution-
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Subject: RE: 3M CAE Litigation

Thanks, Jacqui.

Mark and I are available (all time Eastern)
   • Thursday: before 10:30, or 1-4:30
   • Friday: any time other than 12-3.

Nick

Nicholas F. Wasdin
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Subject: RE: 3M CAE Litigation

Hi Nick:

Yes, your understanding is correct. Sorry for the confusion I created.

Thanks.

Jacqui

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Subject: RE: 3M CAE Litigation

Thanks. I saw Major Kim’s separate email proposing 3:30 this afternoon, but I believe Jacqui’s email below means we are
not moving forward at that time. Let me know if that’s wrong. Otherwise we will schedule the call at a time that works
for everyone.

Nicholas F. Wasdin
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Subject: RE: 3M CAE Litigation

Good afternoon Nick:

I am not available this afternoon. We’ll get back to you under separate cover.

Thanks.

Jacqui
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Sent: Tuesday, May 12, 2020 1:39 PM
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Subject: 3M CAE Litigation

All,

Do folks have time for a call sometime this week? In addition to getting any updates on the items we discussed last
week, we’d like to discuss the government’s views on defendants retaining former government employees as experts in
the litigation.

Nick

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                     EXHIBIT 6
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                                                                   August 7, 2020

              Via Email

              Major Nicole Kim
              Nicole.m.kim2.mil@mail.mil
              (703) 693-1092



                                 Re:        Touhy Request Relating to In re: 3M Combat Arms Earplug Products
                                            Liability Litigation, 3:19-md-02885-MCR-GRJ (N.D. Fla.).

          Dear Major Kim:

                 In connection with In re: 3M Combat Arms Earplug Products Liability Litigation, a
          multidistrict litigation pending before the Northern District of Florida, this letter constitutes
          Defendants 3M Company (“3M”) and Aearo Technologies LLC’s (“Aearo”) Touhy1 request to the
          United States Department of Defense (“DoD”) for Real Ear Attenuation at Threshold (“REAT”)
          and impulse testing data of non-Combat Arms earplugs that were distributed to, and used by
          Bellwether Plaintiffs in Trial Group A. Pursuant to 32 C.F.R. § 516.40-57 and 32 C.F.R. § 97; 33
          C.F.R. § 1.20-1 and 6 C.F.R. § 5.45; DoD Directive 5405.2 § 6.2; Navy Instruction 5820.8A; Air
          Force Instruction 51-301, Defendants set forth the basis for their Touhy request as follows:

          I.           Summary of the Litigation

                  3M was founded in 1902 as a small-scale mining venture in Northern Minnesota, and has
          grown into a global science company employing over 90,000 people. 3M produces more than
          60,000 products world-wide. Many of 3M’s brands have become universally known, including
          Scotch™ Brand adhesive tapes, Post-it® Brand sticky notes, and Thinsulate™ thermal insulation,
          to name just a few. In addition to its consumer-side business, 3M also has a longstanding
          relationship with the federal government and provides thousands of products designed to protect
          American troops and support their missions. In 2008, 3M purchased Aearo, who, at the time, was
          a global leader in personal protection equipment, headquartered in Indianapolis, Indiana. The
          acquisition helped 3M expand its occupational health and environmental safety platform by adding

          1
                 United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951).



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August 7, 2020
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hearing protection, eyewear protection, and fall protection to its product lines, including Combat
Arms Earplugs—the subject of this litigation.

       Hearing loss is a common injury among military veterans. The U.S. military has provided
hearing protection and preservation services to soldiers for decades. In support of that mission,
the military employs audiologists to administer hearing conservation programs and work with
outside contracts, like 3M, to advance their hearing protection goals.

        The complaints in this MDL assert claims for alleged hearing loss or tinnitus allegedly
caused by noise exposure while wearing the Combat Arms Earplugs Version 2. CAEv2 was
developed and designed by Aearo at the request of and in close consultation with U.S. military
audiologists, including Dr. Doug Ohlin, former Program Manager, Hearing Conservation, U.S.
Army Center for Health Promotion and Preventative Medicine. Specifically, the U.S. military and
Aearo decided to modify and update Aearo’s Ultrafit® triple-flanged earplug by including a
specially patented filter created by the French-German Institute in Saint Louis, France (“ISL”).
Thereafter, Aearo worked with the U.S. military and ISL to develop an earplug embodying ISL’s
patented technology, which ultimately became the CAEv2.

         CAEv2 is a “dual ended” earplug that consists of two Ultra-fit type tips, one green and one
yellow, attached to opposite sides of a plastic stem with a small opening at the center. The green
end works like a conventional passive earplug, providing steady attenuation of ambient noise. In
contrast, the yellow end is nonlinear and attenuates different sounds differently. In particular,
sound travels into the opening at the center of the earplug and through a sound channel and the
patented ISL filter before entering the ear. The filter allows lower-level sounds, such as speech, to
pass through with minimal attenuation, but provides increased attenuation for higher-level impulse
noises, like gun-fire. This enables the user to experience enhanced situation awareness while
receiving some protection from unexpected impulse noise. Servicemember plaintiffs in this
litigation allege that the CAEv2 was defective and caused them to sustain serious injuries during
their military service, including hearing damage.

       On February 27, 2020, the Court issued Pretrial Order No. 29, which selected twenty-five
cases for the initial bellwether pool. The parties are now conducting discovery in the initial
bellwether cases, Trial Group A.

II.      Summary and Relevance of the Documents Requested

      Defendants request both REAT and impulse testing data for the enumerated, non-Combat
Arms hearing protection devices that were used by Bellwether Plaintiffs in Trial Group A.
Government actions and knowledge are critical issues in this litigation. The DoD, DLA, Army,
Navy, Marine Corps, Air Force, and Coast Guard exclusively possess information concerning the



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military’s decision to buy CAEv2 from Defendants, including testing information from non-
CAEv2 hearing protection devices that reveals their relative performance capabilities compared to
CAEv2. These materials speak to, among other things: (i) plaintiffs’ allegations that any injuries
occurred while they were wearing the CAEv2, as opposed to when they were wearing other
devices, (ii) plaintiffs’ allegations that the CAEv2 provided less hearing protection than alterative
devices, and (iii) plaintiffs’ allegations that there was a product defect or a failure to warn.

III.     Document Requests

        Specifically, Defendants request testing data relating to non-Combat Arms hearing
protection devices used by Bellwether Plaintiffs in Trial Group A during their military service.
The specific non-Combat Arms hearing protection devices are listed below:

         A.     Bose Noise-Cancelling Headsets

         B.     Bose Noise-Cancelling, Communication Helmet

         C.     Bose Noise Suppression Headset

         D.     Combat Vehicle Crewman’s (“CVC”) Helmet

         E.     Elvex, Quad-Flange Plug

         F.     Etymotic Electronic BlastPLG EB15 Earplug

         G.     Hocks Noise Braker

         H.     Howard Leight AirSoft Earplugs

         I.     Howard Leight Foam Earplugs

         J.     Howard Leight Fusion Earplugs

         K.     Max Lite Earplugs

         L.     Moldex Battleplugs

         M.     Moldex 6405 Rockets Earplugs

         N.     Noise-Cancelling Crew Vehicle Helmet




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         O.     Peltor Comtac Tactical Communications Headset

         P.     Pyramex Taper Fit Earplugs

         Q.     Pyramex Triple Flange Earplugs

         R.     Sonic Defender Surefire Earplugs

IV.      Additional Considerations

       These requests comply with the policies of the DoD, DLA, Army, Navy, Marine Corps,
Air Force, Coast Guard, and the Department of Homeland Security regarding the provision of
information by its employees in connection with litigation in federal court:

         1.     Disclosure of the requested information is not unduly burdensome or otherwise
                inappropriate under the federal discovery rules.

         2.     Disclosure of the requested information would be appropriate under the Federal
                Rules of Evidence and appropriate under the rules of the Northern District of
                Florida.

         3.     Disclosure of the requested information would be appropriate under the Federal
                Rules of Civil Procedure and would not impact any concerns regarding privileged
                information pursuant to the rules of procedure governing this litigation.

         4.     Disclosure of the requested information would not violate any statute, executive
                order, regulation, or directive.

         5.     Disclosure of the requested information would not reveal any classified
                information, data restricted pursuant to AR 380-5, unclassified technical data
                withheld from public release pursuant to 32 C.F.R. § 250 or DoD Directive
                5230.25, privileged safety information restricted from public release by DoD
                Directive 6055.7, AFI 31-401, or other matters exempt from unrestricted
                disclosure.

         6.     Disclosure of the requested information would not interfere with ongoing
                enforcement proceedings, compromise any constitutional rights, reveal the identity
                of an intelligence source or confidential informant, disclose trade secrets or
                similarly confidential commercial or financial information, or otherwise be
                inappropriate under the circumstances.




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         7.     Disclosure would not violate any person’s expectation of confidentiality or privacy.

         8.     The United States is not, and is not reasonably anticipated to be a party in this
                litigation.

See 32 C.F.R. §§ 97.6(b)(1)-(6); 32 C.F.R. §§ 516.41(d), 516.44; Navy Instruction 5280.8A(1)-
(10); Department of Defense Directive 5405.2 § 6.2; 33 C.F.R. § 1.20-1; 6 C.F.R. § 5.45; Air Force
Instruction 51-301, 9.5.1-9.5.6.

V.       Administrative Matters

        Defendants will bear the costs of producing the information sought by this Touhy request.
Costs will be paid by check or money order payable to the Treasury of the United States. to the
extent the DoD, DLA, Army, Navy, Marine Corps, Air Force, or Coast Guard believe any of the
requested information does not implicate the statutory considerations set forth above, Defendants
are willing to work with the DoD, DLA, Army, Navy, Marine Corps, Air Force, or Coast Guard
to narrow the scope of the requested live testimony, and narrow the scope of what each individual
witness may speak to. Should you have any questions or require additional information about this
Touhy request, please do not hesitate to contact me at (312) 862-2410 or
mnomellini@kirkland.com.

                                                      Sincerely,




                                                      /s/ Mark Nomellini




                                                      One of the Attorneys
                                                      Representing 3M




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